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                      Exhibit 2
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  9
      Attorneys for Plaintiffs
 10   CITY OF HUNTINGTON BEACH, a California Charter City, and
 11   Municipal Corporation, HUNTINGTON BEACH CITY COUNCIL,
      HUNTINGTON BEACH POLICE DEPARTMENT, and the
 12   HUNTINGTON BEACH POLICE CHIEF
 13
 14                   UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
 15
 16   CITY OF HUNTINGTON            CASE NO. 8:25-cv-00026-SSS-PD
 17   BEACH, a California Charter   FIRST AMENDED COMPLAINT FOR
                                    DECLARATORY AND INJUNCTIVE
      City, HUNTINGTON BEACH
 18                                 RELIEF
      CITY COUNCIL, HUNTINGTON
 19   BEACH POLICE DEPARTMENT, 1. VIOLATION OF THE SUPREMECY
 20   and the HUNTINGTON BEACH         CLAUSE – ARTICLE VI, CLAUSE 2
      POLICE CHIEF, in his official    OF THE U.S. CONSTITUTION
 21                                 2. VIOLATION OF THE
      capacity as Chief of Police,
 22                                        NATURALIZATION CLAUSE –
                                           ARTICLE I, SECTION 8, CLAUSE 4
 23               Plaintiffs,              OF THE U.S. CONSTITUTION
                      v.                3. VIOLATION OF U.S. FEDERAL
 24
                                           IMMIGRATION LAWS – 8 U.S.C. §,
 25                                        1324
      The STATE OF CALIFORNIA,          4. VIOLATION OF U.S. FEDERAL
 26                                        IMMIGRATION LAWS – 8 U.S.C. §
      GAVIN NEWSOM, in his official        1373
 27
      capacity as Governor of the State 5. VIOLATION OF U.S. FEDERAL
 28   of California; ROBERT BONTA in       IMMIGRATION LAWS – 18 U.S.C. §§


                                            1
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  1   his official capacity as Attorney      4, 371, 372, and 1512

  2   General of the State of California; 6. VIOLATION OF CALIFORNIA
                                             PENAL CODE §§ 31, 32
      and
  3                                       7. VIOLATION OF CALIFORNIA
      DOES 1-50, inclusive,                  CONSTITUTION – ARTICLE XX,
  4                                            SECTION 3
  5              Defendants.                8. VIOLATION OF 42 U.S.C. § 1983
                                            7.9. NON-STATUTORY CAUSE OF
  6                                            ACTION FOR VIOLATION OF
                                               FEDERAL LAW
  7
  8                                             DEMAND FOR JURY TRIAL
                                    COMPLAINT
  9
           The CITY OF HUNTINGTON BEACH, a California Charter City,
 10
      and Municipal Corporation, the HUNTINGTON BEACH CITY
 11
      COUNCIL, the HUNTINGTON BEACH POLICE DEPARTMENT, and
 12
      the HUNTINGTON BEACH POLICE CHIEF, in his official capacity as
 13
      Chief of Police are all collectively hereinafter referred to together as
 14
      the “City” or together as “Plaintiffs.”
 15
           The City brings this lawsuit seeking Declaratory and Injunctive
 16
      Relief (“Complaint”) against the STATE OF CALIFORNIA, GAVIN
 17
      NEWSOM, in his official capacity as Governor of the State of
 18
      California; ROBERT BONTA in his official capacity as Attorney
 19
      General of the State of California; and DOES 1-50, inclusive (together
 20
      as “Defendants”), for various violations of law and actual and
 21
      threatened State enforcement actions against the City in violation of
 22
      ARTICLE VI, CLAUSE 2 OF THE U.S. CONSTITUTION, ARTICLE I,
 23
      SECTION 8, CLAUSE 4 OF THE U.S. CONSTITUTION, U.S.
 24
      Federal Immigration Laws under 8 U.S.C. §§ 1324, 1325, & 1373,
 25
      Federal Criminal Laws under 18 U.S.C. §§ 4, 371, and 372, and 1512,
 26
      and Federal Civil Rights Laws under 42 U.S.C. § 1983, and causing
 27
      the City further thereby to violate California Penal Code §§ 31, 32, for
 28
      Aiding and Abetting and Accessory After the Fact in the Commission

                                            2
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  1   of Federal crimes, and violations of City Officials’ Oath of Office
  2   pursuant to ARTICLE XX, SECTION 3 OF THE CALIFORNIA
  3   CONSTITUTION.
  4        By this Complaint, the City seeks a Judicial Declaration
  5   invalidating, and an Injunction Order enjoining, California’s
  6   “Sanctuary State Law,” which includes, among other operative
  7   provisions, California Government Code §§ 7282, 7282.5, 7283-
  8   7283.2, 7284.4-, and 7284.126, and 7285-7285.3 against the City, its
  9   Police Department, and all City Officials and employees. The City
 10   avers the following upon personal knowledge, information, and belief,
 11   and based upon the investigation of counsel as to all other facts
 12   alleged in this Complaint.
 13                               INTRODUCTION
 14        As a matter of law, the State’s “Sanctuary State Law” is
 15   unconstitutional and violates other Federal laws; as a matter of
 16   enforcement policy, it is a clear and present danger to the health, safety
 17   and welfare of the City of Huntington Beach. According to the California
 18   Department of Justice, violent crime has risen in California by nearly
 19   over 1520% between since 2018 and (3.3% in 2023, and 15.1% from 2018
 20   to 2023)1, and aggravated assaults, motor vehicle theft, robbery, and
 21   arson throughout the State have increased since 2018.
 22        The Nation has seen violent crime committed by illegal immigrants
 23   including MS-132 and Tren de Aragua gang members including widely
 24
 25   1
        CALIFORNIA DEP’T OF JUSTICE, CRIME IN CALIFORNIA at 1 (2023),
 26   https://perma.cc/L24D-DHFV.https://data
      openjustice.doj.ca.gov/sites/default/files/2024
 27
      07/Crime%20In%20CA%202023f.pdf
 28   2
        STAFF OF H. COMM. ON THE JUDICIARY AND THE SUBCOMMITTEE ON IMMIGRATION
      INTEGRITY, SECURITY, AND ENFORCEMENT, 118TH CONG., THE MURDER OF KAYLA

                                            3
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  1   reported rapes, murders, assaults, and other crimes.3 In
  2   ADDITIONaddition, the reported violent crimes by illegal immigrants
  3   includes hostile take-overs by force of apartment buildings and other
  4   American establishments seen
  5   in Aurora, Colorado4 and El Paso, Texas.5 According to the U.S.
  6   Department of Homeland Security, California leads the nation with the
  7   highest illegal immigrant population of any other state – with 2,600,000
  8   in 2022. See Bryan Baker and Robert Warren, Office of Homeland
  9   Security Statistics, Estimates of the Unauthorized Immigrant Population
 10   Residing in the United States: January 2018 January 2022 (April 2024).6
 11
 12   HAMILTON: A CASE FOR IMMIGRATION ENFORCEMENT AND BORDER SECURITY (May
 13   23, 2023), https://perma.cc/QSN7-U55L.https://judiciary.house.gov/media/in-the-
      news/house judiciary report faults biden admin release alleged ms 13 member
 14
      now
 15   3
        KFOX-TV, Report: Tren De Aragua member arrested for sex trafficking migrant.
 16   At      Gateway      Hotel         (Oct.    9,    2024),     https://perma.cc/SAF8-
      LM3Nhttps://kfoxtv.com/news/instagram/report-tren-de-aragua-member-arrested-
 17   for sex trafficking migrant at gateway hotel la barbie el paso texas gang estefania
 18   primera border patrol dps border migrants;; Christina Coulter, Colorado video
      shows Tren de Aragua gang beating apartment complex worker in extortion bid,
 19
      company saysand, FOX NEWS (Oct. 16, 2024), https://perma.cc/HF2N-
 20   E3M9.https://www.foxnews.com/us/colorado-video-shows-tren-de-aragua-gang-
 21   beating-apartment-complex-worker-extortion-bid-company-says
      4
        Samantha Jarpe, ICE: 16 detained in Aurora are suspected Tren de Aragua
 22   associates, KDVR (Dec. 18, 2024), https://perma.cc/W6ZF-FYYP
 23   .https://kdvr.com/news/local/ice 16 detained in aurora are suspected tren de
      aragua-associates
 24   5
        Kerry Mannix, Inside a Downtown El Paso hotel that is reportedly housing Tren
 25   de Aragua gang members, KVIA.COM (Sep. 10, 2024), https://perma.cc/5FR2-
      VZ23.https://kvia.com/news/border/2024/09/10/inside a downtown el paso hotel
 26
      that is reportedly housing tren de aragua gang members/
 27   6
       Baker, B. & Warren, R., Estimates of the Unauthorized Immigrant Population
 28   Residing in the United States: January 2018 to January 2022 at 5, U.S. DEP’T OF
      HOMELAND SEC., (Apr. 18, 2024), https://perma.cc/75S4-Z84K.

                                              4
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  1         Data shows that the flow of mass illegal immigration creates
  2   human trafficking, including increasing a market in the United States
  3   for human trafficking – with “[t]he number of persons prosecuted for
  4   human trafficking more than doubled from 2012 to 2022.”7 In a recent
  5   report, the U.S. Congress noted that nearly 60,000 victims of human
  6   trafficking are trafficked into the U.S. annually.8
  7         Human trafficking, which also results in sex trafficking, hurts
  8   women and children the most9 and over 320,000 immigrant children
  9   have gone missing in the United States. According to the Federal
 10   Government, those lost children are now completely unaccounted for and
 11         ///
 12   ///
 13   unable to be protected.10 Lest it be forgotten, entering the United States
 14   illegally in the first place is a Federal crime. 8 U.S.C. §§ 1325 and 1326.
 15
 16   7
        BUREAU OF JUSTICE STATISTICS, HUMAN TRAFFICKING DATA COLLECTION
 17   ACTIVITIES, 2024, NCJ 309422 (Oct. 2024), https://perma.cc/5WJ9-
 18   TD8R.https://bjs.ojp.gov/library/publications/human trafficking data collection
      activities
 19
      2024#:~:text=The%20number%20of%20persons%20prosecuted,to%201%2C118%
 20   20persons%20in%202022; and https://kfoxtv.com/news/instagram/report-tren-de-
 21   aragua-member-arrested-for-sex-trafficking-migrant-at-gateway-hotel-la-barbie-el-
      paso texas gang estefania primera border patrol dps border migrants
 22   8
        Selene Rodriguez, How Porous Borders Fuel Human Trafficking in the United
 23   States, TEXAS PUBLIC POLICY INSTITUTE, Statement Submitted to the H. Comm. on
      the Judiciary, 118th Cong. (2022), https://perma.cc/9U43-QM7W.
 24   9
        Heather Robinson, How Biden’s border policies will increase sex trafficking of
 25   children to US, NEW YORK POST (Apr. 17, 2021), https://perma.cc/7TLP-
      MH5Q.https://nypost.com/2021/04/17/how bidens border policy will increase
 26
      child sex trafficking to us
 27   10
         Jennie Tauer, Biden-Harris admin loses track of 320,000 migrant children – with
 28   untold numbers at risk of sex trafficking and forced labor, NEW YORK POST (Aug.
      21, 2024), https://perma.cc/UES9-S289.

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  1         Protecting the City’s 200,000 residents from crime and lawlessness
  2   is of the greatest import to, and of the highest order for, Huntington
  3   Beach’s City leaders and its Police Department. Huntington Beach is
  4   the 23rd largest of 482 cities in the State of California.
  5         The State’s relatively new “Sanctuary State Law” directly conflicts
  6   with U.S. Federal immigration, criminal, and civil rights laws, including
  7   but not limited to 8 U.S.C. §§ 1324, and 1373, and 1644;, and 18 U.S.C.
  8   §§ 4, 371, and 372, and 1512; and 42 U.S.C. § 1983.
  9         California’s Sanctuary State Law not only limits the ability of City
 10   officials, including Huntington Beach Police personnel, to engage fully in
 11   fullest of effective law enforcement practices, but it directs City officials,
 12   including Huntington Beach Police personnel, to violate U.S. Federal
 13   immigration laws, including and among others, 8 U.S.C. §§ 1324, and
 14   1373, and 1644, and 18 U.S.C. §§ 4, 371, and 372, and 1512. In fact, the
 15   conflict of laws created by the State presents an untenable “Hobson’s
 16   ChoiceCatch-22” for the City of Huntington Beach, e.g., comply with the
 17   State’s new Sanctuary State Law and violate U.S. Federal immigration
 18   laws, or comply with the Federal immigration laws, and violate the
 19   Sanctuary State Law. This conflict must be reconciled by this Court.
 20         At the passage of California’s Sanctuary State Law in 2017, NPR
 21   reported that the law “bans state and local agencies… from enforcing
 22   ‘holds’ on people in custody. It blocks the deputization of police as
 23   immigration agents and bars state and local law enforcement agencies
 24   from inquiring into an individual’s immigration status....… It also
 25   prohibits new or expanded contracts with Federal agencies to use
 26   California law enforcement facilities as detention centers, although it
 27
 28


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  1   does not force the termination of existing contracts. . . .”11 POLITICO
  2   Politico reported that this new law limits “local law enforcement officials’
  3   ability to cooperate with Ffederal immigration authorities. . . .”12
  4         Huntington Beach is a City in the County of Orange. As will be
  5   presented in greater detail, infra, Sheriff Don Barnes reported that the
  6   Orange County Sheriff’s Department (hereinafter “OCSD”) is prohibited
  7   by State law to from notifying U.S. Immigration Control and Customs
  8   and Enforcement (ICE) of the release of inmates with ICE detainers. In
  9   2018, 1,106 inmates in Orange County who had ICE detainers but did
 10   not meet eligibility for notifying ICE were released into the community.
 11   173 oOut of those 1,106 inmates, 173 were rearrested “in Orange County
 12   for committing 58 different types of crimes, including attempted murder,
 13   assault and battery, child molestation, and robbery.” In 2023, there were
 14   547 inmates who had with ICE detainers were released from Orange
 15   County Jail. About 81 of those inmates eligible for notification and
 16   transfer to ICE’s custody were not transferred but were released into the
 17   community. A total of 40 individuals were rearrested for committing
 18   new crimes in Orange County. Being prevented from coordinating with
 19   Federal agencies by the Sanctuary State Law prevents effective law
 20   enforcement, puts the community at risk, and as the data shows, leads to
 21   more crimes.
 22
 23
 24   11
        Ben Adler, California Governor Signs ‘Sanctuary State’ Bill, NPR (Oct. 5, 2017),
 25   https://perma.cc/5YEE-2XF6.https://www.npr.org/sections/thetwo
      way/2017/10/05/555920658/california governor signs sanctuary state bill
 26
      12
         David Siders, Brown signs ‘sanctuary state’ bill in California, POLITICO (Oct. 5,
 27
      2017), https://perma.cc/4LXS-
 28   4FP5.https://www.politico.com/story/2017/10/05/california-sanctuary-city-jerry-
      brown signs 243503

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  1        In addition to commanding the City to violate U.S. Federal
  2   immigration laws, the State’s Sanctuary State Law forces City officials,
  3   including Huntington Beach Police personnel, to violate California Penal
  4   Code §§ 31 and 32 for “aiding and abetting” and “accessory after the fact”
  5   in harboring, concealing, or protecting the perpetrator who committed a
  6   Federal crime. Moreover, the Sanctuary State Law forces City officials,
  7   including Huntington Beach Police personnel, to harbor, conceal, or
  8   “shield from detection” known unauthorized aliens in their custody. The
  9   Sanctuary State Law commands City officials, including Huntington
 10   Beach Police personnel, to turn a blind eye to alien the smuggling of
 11   aliens, many of whom which in many cases, the individuals who were
 12   smuggled into the country would end up becominge victims of human
 13   trafficking.
 14        The State cannot force the City to violate U.S. Federal immigration
 15   laws that both the Ninth Circuit Court of Appeals and the United States
 16   Supreme Court have held preempted related State laws under the
 17   Supremacy Clause.
 18        To put a fine point, as a Charter City, Huntington Beach’s Police
 19   Department does not belong to the State. Rather, the Huntington Beach
 20   Police Department belongs to the City – and as such, the Police
 21   Department should be free from State interference and control. The City
 22   and its Police Department should be, therefore, entirely at liberty to
 23   employ every lawful means to combat crime and promote public safety for
 24   the City’s 200,000 residents.
 25        While the Federal Government cannot commandeer State and/or
 26   local resources to effectuate its operations or achieve its goals, local
 27   agencies, like Huntington Beach, should be at liberty to voluntarily
 28   cooperate with the Federal Government in its operations in order to


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 1   combat local crime and promote local public safety.13 As it is now,
 2   California’s Sanctuary State Law prevents such voluntary cooperation
 3   thereby preventing the City from employing every lawful means
 4   available to combat crime in Huntington Beach and forces City officials
 5   to violate U.S. Federal immigration laws. That the State can stand as a
 6   barrier in between the City and the Federal Government not only shocks
 7   the conscience, but it is also unconstitutional.
 8         The “Supremacy Clause” of the U.S. Constitution demands that the
 9   California Sanctuary State Law yield to the Federal Government and not
10   act as a barrier for to the enforcement of U.S. Federal immigration laws.
11   By enacting its Sanctuary State Law, the State of California exceeded its
12   authority and is unconstitutionally interfering with U.S. Federal
13   immigration laws and the City’s Charter Home Rule authority.
14         With no other remedy available at law, the City seeks a Judicial
15   Declaration invalidating, and an Injunction Order enjoining, the
16   State’s enforcement of operative portions of California’s “Sanctuary
17   State Law,” which includes, among others, California Government
18   Code §§ 7282, 7282.5, 7283-7283.2, 7284.4-, and 7284.126, and 7285-
19   7285.3, against the City Plaintiffs and the City’s officials and
20   employees.
21                                      PARTIES
22         1.    Plaintiff CITY OF HUNTINGTON BEACH is, and at all
23   relevant times was, a Municipal Corporation and Charter City14
24
25   13
        See Cal. ex. Rel. Becerra v. Sessions, 284 F. Supp.3d 1015, 1035 (N.D. Cal. N.D.
26   2018) (“No cited authority holds that the scope of state sovereignty includes the
     power to forbid state or local employees from voluntarily complying with a federal
27
     program.”).
28   14
        Online: Charter, City of Huntington Beach: https://library.qcode.us/lib/
     huntington_ beach_ca/pub/municipal_code/item/charter preambleCITY OF

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 1   organized by the people of the City and existing under a freeholder’s
 2   charter and exercising “Home Rule” powers over its Municipal Affairs,
 3   including without limitation local law enforcement as authorized by
 4   Article XI, Section 5 of the California Constitution.
 5         2.      Plaintiff HUNTINGTON BEACH CITY COUNCIL (“City
 6   Council” or “Council Members”) is, and at all relevant times was, the
 7   elected body of seven members, elected by the People of the City
 8   pursuant to the Charter of the City of Huntington Beach. See Section
 9   300, City Charter15.
10         3.      Plaintiff HUNTINGTON BEACH POLICE DEPARTMENT
11   (“HBPD”) is, and at all relevant times was, the official local municipal
12   law enforcement department of the City of Huntington Beach, organized
13   as a Charter City pursuant to, and authorized as provided in Article XI,
14   including §§ 3 and 5, of the California Constitution.
15         4.      Plaintiff HUNTINGTON BEACH POLICE CHIEF (“HBPD
16   Chief”) is the City Council duly appointed Chief of the Huntington Beach
17   Police Department. He was duly appointed by the City Council.
18         5.      Defendant STATE OF CALIFORNIA is the State of
19   California.
20         6.      Defendant GAVIN NEWSOM (“Governor”) is and at all
21   relevant times was the Governor of the State of California. He is being
22   sued in his official capacity.
23
24
25
26
     HUNTINGTON BEACH, CAL., TITLE CHA CHARTER, PREAMBLE, (Oct. 15, 2024),
27
     https://perma.cc/XX97-BXPA.
28   15
        Id. at CHARTER ART. III § 300 (Oct. 15, 2024), https://perma.cc/VQK6-
     J5QL.https://ecode360.com/43806864#43806864

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 1         7.    Defendant ROBERT BONTA (“Attorney General”) is and at
 2   all relevant times was the Attorney General of the State of California.
 3   He is being sued in his official capacity.
 4                             POTENTIAL PARTIES
 5         8.    The City is ignorant of the true names and capacities of those
 6   Defendants sued herein as DOES 1 through 50, inclusive, and therefore
 7   sue those Defendants by such fictitious names. The City will amend this
 8   Complaint to allege the true names and capacities of these fictitiously
 9   named Defendants when the same have been ascertained.
10         9.    There are several individuals and/or entities whose true
11   names and capacities are currently not known to the City. Evidence may
12   come forth that others are legally responsible and liable to the City to the
13   extent of the liability of the named Defendants. The City will seek leave
14   of the Court to amend this Complaint to reflect the names and capacities
15   should they become known. The City reserves the right to amend this
16   claim pursuant to Fed. R. Civ. P. 15(a) and Fed. R. Civ. P. 21 with leave
17   of the Court to add potential additional defendants and additional
18   allegations and claims.
19                          JURISDICTION AND VENUE
20         10.   This case presents Federal questions arising under the
21   Constitution of the United States and seeks relief for the deprivation of
22   Federal rights under color of state law. This Court accordingly has
23   subject-matter jurisdiction pursuant to 28 U.S.C. §§1331 and 1343.
24         11.   This Court has authority to award Plaintiffs declaratory relief
25   pursuant to 28 U.S.C. § 2201, and injunctive relief under 28 U.S.C. §§
26   1343 and 2202, and Rule 65 of the Federal Rules of Civil Procedure, and
27   under Ex parte Young, 209 U.S. 123 (1908).
28


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 1         12.   Venue is proper in this District under 28 U.S.C. § 1391(b)
 2   because a substantial part of the events or omissions giving rise to
 3   Plaintiffs’ claims occurred in this District.
 4                                 ALLEGATIONS
 5         A.    Charter City Authority
 6         13.   The City of Huntington Beach is a Municipal Corporation
 7   formed by the people of the City of Huntington Beach as a “Charter City”
 8   pursuant to California Constitution Article XI §§ 3 and 5.
 9         14.   To compare, “general law” cities are “political subdivisions” of
10   the State and the law generally holds that such cities must follow the
11   dictates of the State to execute functions of the State. Accordingly,
12   “political subdivision” is defined to mean “a geographic area of
13   representation . . . including, but not limited to, a city, a school district, a
14   community college district, or other district organized pursuant to state
15   law.” Cal. Elect. Code § 14051(a).
16         15.   Charter Cities on the other hand, being formed by the
17   people of their city under the California Constitution (and not State law),
18   are not political subdivisions of the State. To that end, both the
19   California Constitution and case law hold that Charter Cities possess
20   independent authority over Municipal Affairs – so “independent” as to be
21   free from State Legislative interference and control. See Cal. Const. art.
22   XI, § 5(a) (which expressly states, “City charters adopted pursuant to
23   this Constitution shall supersede any existing charter, and with
24   respect to municipal affairs shall supersede all laws inconsistent
25   therewith.” (emphasis added)).
26         16.   As the Court of Appeal recently stated, Charter Cities, like
27   Huntington Beach, “are distinct individual entities, and are not
28   connected political subdivisions of the state.” Haytasingh v. City of San


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 1   Diego, 66 Cal.App.5th 429, 459 (2021). The Court of Appeal explained
 2   that “‘I[i]t is the free consent of the persons composing them that brings
 3   into existence municipal corporations, and they are used for the
 4   promotion of their own local and private advantage and convenience…
 5   Cities, therefore, are distinct individual entities, and are not connected
 6   political subdivisions of the state. As a matter of fact, municipalities,
 7   and particularly charter cities, are in a sense independent
 8   political organizations and do not pretend to exercise any
 9   functions of the state. They exist in the main for the purposes of
10   local government.’” Id., (emphasis added) (quoting Otis v. City of Los
11   Angeles, 52 Cal.App.2d 605, 611-12 (1942)).
12           17.   In 2020, the State Court of Appeal recognized that Charter
13   Cities, far from being creatures of the State, enjoy constitutionally
14   recognized autonomy (Cal. Const. art. XI) and municipal authority over
15   certain areas of governance that is “supreme and beyond the reach of
16   legislative enactment.” City of Redondo Beach v. Padilla, 46 Cal.App.5th.
17   902, 910 (2020) (relying on Cal. Const. art. XI).
18           18.   After the California Constitution of 1879 was adopted, the
19   Supreme Court of California declared it was “manifestly the intent” of
20   the drafters “to emancipate municipal governments from the authority
21   and control formerly exercised over them by the Legislature.” Johnson v.
22   Bradley, 4 Cal.4th 389, 395 (1992) (quoting People v. Hoge, 55 Cal. 612,
23   618 (1880)).
24           19.   Article XI, section 5 of the California Constitution provides in
25   full:
26                 (a) It shall be competent in any city charter to provide
27                 that the city governed thereunder may make and
28                 enforce all ordinances and regulations in respect to
                   municipal affairs, subject only to restrictions and

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 1                limitations provided in their several charters and in
 2                respect to other matters they shall be subject to general
                  laws. City charters adopted pursuant to this
 3                Constitution shall supersede any existing charter, and
 4                with respect to municipal affairs shall supersede all
 5                laws inconsistent therewith.

 6                (b) It shall be competent in all city charters to provide,
 7                in addition to those provisions allowable by this
                  Constitution, and by the laws of the State for: (1) the
 8
                  constitution, regulation, and government of the
 9                city police force (2) subgovernment in all or part of a
10                city (3) conduct of city elections and (4) plenary
                  authority is hereby granted, subject only to the
11
                  restrictions of this article, to provide therein or by
12                amendment thereto, the manner in which, the method
13                by which, the times at which, and the terms for which
                  the several municipal officers and employees whose
14
                  compensation is paid by the city shall be elected or
15                appointed, and for their removal, and for their
16                compensation, and for the number of deputies, clerks
                  and other employees that each shall have, and for the
17                compensation, method of appointment, qualifications,
18                tenure of office and removal of such deputies, clerks and
19                other employees.
20   Cal. Const. art. XI, § 5 (emphasis added).
21         20.    The California Supreme Court has explained that § 5(a) of
22   Article XI of the California Constitution provides that a Charter City
23   shall not be governed by State law in respect to “Municipal Affairs.”
24   Rather, “so far as ‘Municipal Affairs’ are concerned,” Charter Cities’ laws
25   are “supreme and beyond the reach of [State] legislative enactment.”
26   California Fed. Savings & Loan Assn. v. City of Los Angeles 35 Cal.3d 1,
27   12 (1991).
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 1         21.   One of the “core” categories of Municipal Affairs that is
 2   specifically described in Article XI, § 5(b) is “the constitution, regulation
 3   and government of the city police departmentforce.” Cal. Const. art. XI, §
 4   5(b)(1).
 5         22.   The “Home Rule” provision of the California Constitution
 6   authorizes a Charter City to exercise plenary authority over Municipal
 7   Affairs, free from any constraint imposed by the general law and subject
 8   only to constitutional limitations. See Cal. Const. art. XI, § 5(a); Ex Parte
 9   Braun, 141 Cal. 204, 209 (1903); Bishop v. City of San Jose, 1 Cal. 3d 56,
10   61 (1969); Comm. of Seven Thousand v. Super. Ct. (City of Irvine), 45
11   Cal.3d 491 (1988).
12         23.   As a Charter City, the City of Huntington Beach has supreme
13   authority over its city police force. Cal. Const. art. XI, § 5(b).
14         24.   As a Charter City particularly, the City’s Police Department
15   does not belong to the State, rather, it belongs to the City – and as such,
16   is free from State interference and control. The City’s Police Department
17   engages in local arrests and investigations as Municipal Affairs.
18         25.   The independence and Home Rule authority the California
19   Constitution provides to Huntington Beach means that the City and its
20   Police Department are, among many other things, at liberty to conduct
21   effective law enforcement practices, including fighting violent crime by
22   all means available, and “free” to comply with Federal laws in addition to
23   its local laws; “free” from State interference.
24         26.   The City of Huntington Beach has a duty to protect the
25   health, safety, and welfare of its residents. Part of that duty is to ensure
26   that the police officers have the ability to investigate crimes before it
27   they occurs, and arrest and detain individuals who committed those
28   crimes, including incidents involving unauthorized aliens. Part of that


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 1   duty necessarily involves coordinating with other agencies, whether
 2   County, State, or Federal for full enforcement of the laws.
 3         27.   Article XX, § 3 of the California Constitution provides the
 4   Oath of Office that certain City officials, including elected officials and
 5   police officers, are required to take in order to be fully vested with
 6   authority for the office they are to assume. Cal. Const. art. XX, § 3.
 7         28.   The Constitutionally required Oath of Office states “I,
 8   ............___________, do solemnly swear (or affirm) that I will support and
 9   defend the Constitution of the United States and the Constitution of the
10   State of California against all enemies, foreign and domestic; that I will
11   bear true faith and allegiance to the Constitution of the United States
12   and the Constitution of the State of California; that I take this obligation
13   freely, without any mental reservation or purpose of evasion; and that I
14   will well and faithfully discharge the duties upon which I am about to
15   enter.”
16         29.   The Sanctuary State Law forces the City’s officials, including
17   Huntington Beach Police personnel, to violate U.S. Federal immigration
18   laws, in violation of the California Constitution’s Oath of Office.
19         B.    The Sanctuary State Law
20         30.   In 2017, the State of California enacted the “Sanctuary State
21   Law,” presented then as the “California Values Act of 2017.” The
22   Legislative Bill at the time was commonly known as “Senate Bill 54” or
23   “California’s Sanctuary State Law” (hereinafter “Sanctuary State Law”).
24         31.   The Sanctuary State Law is unconstitutional. See U.S. Const.
25   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; 8 U.S.C. §§ 1324, 1325, 1373; 18
26   U.S.C. §§ 4, 371, 372, and 1512; see also, Cal. Const. art. XI, § 5; Cal.
27   Const. art. XX, § 3.
28


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 1         32.   The Sanctuary State Law violates the City’s right to fully
 2   control its own Police Department and fully and effectively engage in law
 3   enforcement. Moreover, neither the State, nor its laws, may prevent the
 4   City of Huntington Beach from honoring, following, and/or complying
 5   with State and all Federal laws, including Federal laws on immigration,
 6   which is the supreme law of the land on immigration.
 7         33.   The Sanctuary State Law violates the City’s right to fully
 8   control its own Police Department and fully and effectively engage in law
 9   enforcement. Specifically, California Government Code §§ 7282.5,
10   7284.4, 7284.6, 7285.1, and 7285.2 prohibit local law enforcement officers
11   from to cooperatinge with the Federal Government in criminal
12   immigration investigation.
13         34.   The Sanctuary State Law bars local jurisdictions from
14   complying with 8 U.S.C. § 1324 or participatinge in a joint task force that
15   may involve immigration enforcement. See Cal. Gov. Code §§ 7282.5,
16   7282.4 7284.6, 7285.1, 7285.2.
17         35.   California Government Code §§ 7282.4 and 7282.5 restrict
18   cooperation between local law enforcement agencies and the Federal
19   Government, which is a violation of 8 U.S.C. §§ 1373 and 1644, which
20   expressly preempt State and local laws and confer on local government
21   officials the absolute right to communicate with DHS about “the
22   citizenship or immigration status, lawful or unlawful, of any individual.”
23         36.   The Sanctuary State Law allows for smugglers to transport
24   individuals into the United States in violation of 8 U.S.C. § 1324 for
25   financial gain.
26         37.   The Sanctuary State Law places aliens at risk of harm,
27   including by or being trafficked because California Law Enforcement
28   Agencies cannot engage in the enforcement of 8 U.S.C. § 1324.


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 1         38.   The Sanctuary State Law prohibits local law enforcement
 2   agencies from asking employers about a person’s immigration status
 3   under 8 U.S.C. § 1324(a)(3). See Cal. Gov. Code § 7284.6(a)(1)(A).
 4         39.   In recent years, Defendant Governor Gavin Newsom has
 5   taken a series of substantial steps to incentivize the inflow of illegal
 6   immigration into California, and to protect and harbor illegal
 7   immigrants, with including bythe implementing of policies and laws
 8   to hire illegal immigrants in jobs in State government.16
 9         40.   Defendant Governor Gavin Newsom also has a new program
10   to give illegal immigrants taxpayer funded downpayments of $150,000 to
11   buy homes.17 Defendant Newsom is doing more than simply turning a
12   blind eye, he is aggressively pursuing policies with taxpayer funds to
13   incentivize illegal immigrants to relocate to his Sanctuary State.
14         41.   In 2024, Defendant Governor Gavin Newsom launched a
15   program for California to spend $2.3 million of taxpayer money to
16   support the relocating and settling of illegal immigrants in to rural areas
17   of the State.18 Defendant Newsom is aggressively pursuing policies to
18   commit taxpayer funds to protecting illegal immigrants.
19
20   16
        REFORM CALIFORNIA, California to Give Illegal Immigrants Jobs in State
21   Government, (June 3, 2024) https://perma.cc/MDB9-
22   DVCLhttps://reformcalifornia.org/news/reform california slams bill to hire illegal
     immigrants in ca state government.
23   17
        Lee Ohanian, California’s One-Party State and Housing Subsidies for
24   Undocumented Migrants, HOOVER INSTITUTION (Sept. 4, 2024),
     https://perma.cc/7EAX-V93A.https://www.hoover.org/research/californias one
25   party state and housing subsidies undocumented migrants
     18
26      Willie Rudman, Supporting California’s Rural Communities: $2.3 Million in
     Grants to Further Expand Immigrant Integration in Rural Regions, CALIFORNIA
27
     BUSINESS AND ECONOMIC DEVELOPMENT (June 28, 2024), https://perma.cc/N2ET-
28   8GPB.https://business.ca.gov/supporting-californias-rural-communities-2-3-million-
     in grants to further expand immigrant integration in rural regions

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 1              42.   In August of 2024, Defendant Governor Gavin Newsom
 2   launched another program to offer illegal immigrants home mortgage aid
 3   to buy homes.19 Defendant Newsom is doing more than simply sitting on
 4   the sidelines, he is aggressively pursuing policies with taxpayer funds to
 5   incentivize illegal immigrants to relocate to his Sanctuary State.
 6              43.   Most recently, Defendant Governor Gavin Newsom
 7   established a $25 million taxpayer- funded legal defense fund for illegal
 8   immigrants to fight the Federal government’s announced crackdown on
 9   illegal immigration, which seeks to combat the violent crimes committed
10   against U.S. citizens.20 Governor Newson also established a fund of $25
11   million of taxpayer money to fight the Trump Administration’s efforts to
12   enforce Federal immigration law.21
13              44.   In response to the November 5th election of Donald J. Trump
14   as President of the United States, and with his nomination of Tom
15   Homan as “Border Czar,” Defendant Governor Gavin Newsom convened
16   the State Legislature in a Special Session to develop an “Immigrant
17   Support Plan” designed to counter “Trump deportations.”22
18
19   19
        Karen Garcia, California lawmakers approve bill to extend home mortgage aid to
20   undocumented immigrants, LOS ANGELES TIMES (Aug. 29, 2024),
     https://perma.cc/Y5MB-8P4M.https://www.latimes.com/california/story/2024 08
21
     29/california lawmakers approve home mortgage aid to undocumented immigrants
22   20
        Ryan Mills, California Governor Newsom Requests $25 Million from Legislature
23   for Anti-Trump Litigation Fund, NATIONAL REVIEW (Dec. 3, 2024),
     https://perma.cc/A76Q-REJV; Taryn Luna, Newsom approves millions for
24   immigrant aid and lawsuits against Trump, LA TIMES (Feb. 3, 2025),
25   https://perma.cc/8JQS-GHHE.https://www.nationalreview.com/news/california
     governor newsom requests 25 million from legislature for anti trump litigation
26   fund
     21
27        Id.
28   22
       Lindsey Holden, Newsom’s team mulls immigrant support plan to counter Trump
     deportations, POLITICO (Dec. 24, 2024), https://perma.cc/8NJW-

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 1         45.   It was widely reported that “Gavin Newsom’s administration
 2   is drafting a potential plan to help undocumented immigrants who may
 3   be threatened by . . . incoming President Donald Trump’s mass
 4   deportation threats.” Id.
 5         46.   According to POLITICOPolitico, a draft of Defendant Gavin
 6   Newsom’s plan entitled “Immigrant Support Network Concept” proposes
 7   the “creation of an Immigrant Support Network comprised of regional
 8   ‘hubs’ to connect at-risk individuals, their families, and communities
 9   with community systems — such as legal services, schools, labor unions,
10   local governments, etc.” Id. (emphasis added). Clearly, Defendant
11   Gavin Newsom plans to further commandeer local governments to act in
12   violation of U.S. Federal immigration laws in the near future.
13         47.   In addition, on December 17, 2024, Defendant Attorney
14   General Robert Bonta issued a Press Release advising illegal immigrants
15   of the ways in which his office, and the State, were going to assist in
16   shielding illegal immigrants from “threats of mass detention, arrests,
17   and deportation”23 and thus     from detection and detention by the
18   Federal Government. In that Press Release, Robert Bonta directly
19   advised that “Y[y]ou have the right to apply for and secure housing
20   without sharing your immigration status,” and “Y[y]ou have the right to
21   an attorney.”
22         48.   In that same Press Release, Defendant Robert Bonta stated,
23   “State and local law enforcement cannot ask for your immigration
24
25   S2FE.https://www.politico.com/news/2024/12/24/newsom california immigrants
26   trump 00195984
     23
        CALIFORNIA ATTORNEY GENERAL’S OFFICE, Press Release, Attorney General
27
     Bonta Reminds California Immigrants of Their Rights and Protections Under the
28   Law (Dec. 17, 2024), https://perma.cc/74PF-N6WR.https://oag.ca.gov/news/press-
     releases/attorney general bonta reminds california immigrants their rights and

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 1   status” and “State and local law enforcement cannot share your personal
 2   information” and “State and local law enforcement cannot assist ICE
 3   with immigration enforcement.” Not only do the promises is what
 4   appears in the statement constitute a violations of U.S. Federal
 5   immigration law, but his statement also revealsindicates a systematic
 6   program by the State to shield illegal immigrants in response to “the
 7   President-elect making clear his intent to move forward an inhumane
 8   and destructive immigration agenda once he takes office.” Defendant
 9   Robert Bonta’s statements make clear that his systematic program to
10   protect illegal immigrants conflicts with the U.S. Federal immigration
11   laws and Federal Government operations.
12            C.    Federal Authorities
13                  1.   U.S. Immigration Laws
14            49.   “The federal power to determine immigration policy is well
15   settled.” Arizona v. United States, 567 U.S. 387, 395 (2012).
16            49.50.      Article I, Section 8, Clause 4 of the U.S. Constitution
17   provides Congress with the “power… To establish an uniform Rule of
18   Naturalization… throughout the United States.” U.S. Const. art. I, § 8,
19   cl. 4.
20            50.51.      In addition to conferring on Congress with the power to
21   determine when foreign nationals may obtain U.S. citizenship, the
22   Naturalization Clause is sometimes viewed as contributing to Congress’s
23   power over immigration, including its power to set rules for when aliens
24   may enter or remain in the United States.
25            51.52.      In Arizona v. United States, 567 U.S. 387 (2012), the
26   Supreme Court declared confirmed that the Federal Government’s
27   “broad, undoubted power” over immigration was partially based “on the
28   national government’s constitutional power to ‘establish an uniform Rule


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 1   of Naturalization,’ and its inherent power as sovereign to control and
 2   conduct relations with foreign nations.” 567 U.S. Id. at 394–95 (quoting
 3   U.S. Const. art. I, § 8, cl. 4).
 4         52.53.       In Harisiades v. Shaughnessy, 342 U.S. 580 (1952), the
 5   Supreme Court observed that “[t]he power of Congress to exclude, admit,
 6   or deport aliens flows from sovereignty itself and from the power ‘To
 7   establish an uniform Rule of Naturalization.’” Id. at 599 (quoting U.S.
 8   Const. art. I, § 8, cl. 4); see also INS v. Chadha, 462 U.S. 919, 940
 9   (1983) (“The plenary authority of Congress over aliens under Art. I, § 8,
10   cl. 4 is not open to question”); Toll v. Moreno, 458 U.S. 1, 10
11   (1982) (“Federal authority to regulate the status of aliens derives from
12   various sources, including the Federal Government’s power ‘[to] establish
13   [a] uniform Rule of Naturalization’…”) (quoting U.S. Const. art. I, § 8, cl.
14   4); Mathews v. Diaz, 426 U.S. 67, 79–80 (1976) (“In the exercise of its
15   broad power over naturalization and immigration, Congress regularly
16   makes rules that would be unacceptable if applied to citizens.”).
17         54.   Apart from the Naturalization Clause, the Supreme Court
18   has cited Congress’s foreign commerce power as a basis for its
19   immigration power. See Toll, 458 U.S. at 10 (observing that Congress’s
20   immigration power also derives from “its power ‘[t]o regulate Commerce
21   with foreign Nations,’ and its broad authority over foreign affairs”)
22   (citing U.S. Const. art. I, § 8, cl. 3); United States ex rel. Turner v.
23   Williams, 194 U.S. 279, 290 (1904) (recognizing that an immigration
24   statute was based in part “on the power to regulate commerce with
25   foreign nations, which includes the entrance of ships, the importation of
26   goods, and the bringing of persons into the ports of the United
27   States”); Edye v. Robertson, 112 U.S. 580, 600 (1884) (“It is enough to say
28   that, Congress having the power to pass a law regulating immigration as


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 1   a part of the commerce of this country with foreign nations, we see
 2   nothing in the statute by which it has here exercised that power
 3   forbidden by any other part of the Constitution.”).
 4         55.   Furthermore, the federal government’s power over
 5   immigration comes from its “inherent power as sovereign to control and
 6   conduct relations with foreign nations.” Arizona, 567 U.S. at 394 (citation
 7   omitted).
 8         56.   Conversely, “[u]nder the Constitution the states are granted
 9   no such powers; they can neither add to nor take from the conditions
10   lawfully imposed by Congress upon admission, naturalization and
11   residence of aliens in the United States or the several states.” DeCanas
12   v. Bica, 424 U.S. 351, 358 n.6 (1976) (quoting Takahashi v. Fish & Game
13   Comm’n, 334 U.S. 410, 419 (1948) (emphasis added)).
14         57.   The Immigration and Nationality Act (INA) specifically
15   permits state and local law enforcement officers to assist federal officials
16   in enforcing immigration law.24 No federal law, however, allows state or
17   local officials to subvert or ignore the requirements of the INA. In fact,
18
19   24
       See, e.g., 8 U.S.C. § 1324(c) (arrests for criminal violation of the INA’s
20   prohibitions against smuggling, transporting, or harboring aliens may be
     made not only by federal immigration officers, but also by “all other
21
     officers whose duty it is to enforce criminal laws”); id. § 1252c
22   (authorizing state and local law enforcement to arrest unlawfully present
23   aliens who have been previously removed and convicted of a felony); id. §
     1103(a)(10) (empowering DHS to authorize state and local law
24
     enforcement officers, when an “actual or imminent mass influx of aliens .
25   . . presents urgent circumstances requiring an immediate Federal
26   response,” to perform functions of federal immigration officers); and id. §
     1357(g) (allowing DHS to enter into written agreements with State or
27   local governments to assist in “investigation, apprehension, or detention
28   of aliens in the United States” and also specifically allowing such
     cooperation even without written agreements).

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 1   federal law imposes significant criminal and civil penalties on those who
 2   do so.
 3         53.58.     The Sanctuary State Law violates Federal law,
 4   including the INA.
 5         54.59.     In 1952, Congress enacted the INA. 8 U.S.C. §§ 1101-
 6   1537. Section 274 of the INA, 8 U.S.C. § 1324, was enacted to combat
 7   human smugglers and imposes criminal penalties on anyone who “brings
 8   to or attempts to bring to the United States in any manner whatsoever
 9   [an alien] ... at a place other than a designated port of entry”; on anyone
10   who “transports, or moves or attempts to transport or move ... [an illegal]
11   alien within the United States”; anyone who “conceals, harbors, or
12   shields from detection” an illegal alien, “or attempts to” do so; or anyone
13   who “encourages or induces an alien” illegally “to come to, enter, or
14   reside in the United States.” 8 U.S.C. 1324(a)(1)(A).In 1986, Congress
15   enacted the Immigration and Naturalization Act (hereinafter “INA”). 8
16   U.S.C. §§ 1101 1537. Title 8, U.S.C. § 1324, was enacted to combat
17   human smugglers who commit the crime by “bringing people into the
18   United States, or unlawfully transporting and harboring people already
19   in the United States, in deliberate evasion of immigration law.”25.
20         55.60.     In part, 8 U.S.C. § 1324 makes it a Federal crime for
21   any person to who, “knowing that a person is an alien, brings to or
22   attempts to bring to the United States in any manner whatsoever such
23   person at a place other than a designated port of entry or place other
24   than as designated by the Commissioner, regardless of whether such
25   alien has received prior official authorization to come to, enter, or reside
26   in the United States and regardless of any future official action which
27   may be taken with respect to such alien.” 8 U.S.C. § 1324(a)(1)(A)(i).
28


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 1            56.61.        Title 8, U.S.C. §Section 1324 also makes it a Federal
 2   crime for any person to “knowing or in reckless disregard of the fact that
 3   an alien has come to, entered, or remains in the United States in
 4   violation of law, conceals, harbors, or shields from detection, or attempts
 5   to conceal, harbor, or shield from detection, such alien in any place,
 6   including any building or any means of transportation.” 8 U.S.C. §
 7   1324(a)(1)(A)(iii).
 8            57.62.        And, 8 U.S.C. § 1324 makes it a Federal crime for any
 9   person to “knowingly hire[]s for employment at least 10 individuals with
10   actual knowledge that the individuals are [illegal] aliens described in
11   subparagraph (B).” 8 U.S.C. § 1324(a)(3).
12            63.      Title 8, U.S.C. § 1373(a) Federal law also provides that,
13   “[n]Notwithstanding any other provision of Federal, State, or local law, a
14   Federal, State, or local government entity or official may not prohibit, or
15   in any way restrict, any government entity or official from sending to, or
16   receiving from, the Immigration and Naturalization Service [DHS]
17   information regarding the citizenship or immigration status, lawful or
18   unlawful, of any individual.” 8 U.S.C. § 1373(a).
19            58.64.        Similarly, 8 U.S.C. § 1644 provides that
20   “[n]otwithstanding any other provision of Federal, State, or local law, no
21   State or local government entity may be prohibited, or in any way
22   restricted, from sending to or receiving from [DHS] information
23   regarding the immigration status, lawful or unlawful, of an alien in the
24   United States.”
25            59.65.        Under Title 18, U.S.C. § 4 provides, “[w]Whoever,
26   having knowledge of the actual commission of a felony cognizable by a
27   court of the United States, conceals and does not as soon as possible
28
     25
          https://crsreports.congress.gov/product/pdf/IF/IF12539
                                                25
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 1   make known the same to some judge or other person in civil or military
 2   authority under the United States, shall be fined under this title or
 3   imprisoned not more than three years, or both.” 18 U.S.C. § 4.
 4         60.66.     Under Title 18, U.S.C. § 371 provides, “[i]If two or more
 5   persons conspire to either to commit any offense against the United
 6   States, or to defraud the United States, or any agency thereof in any
 7   manner or for any purpose…each shall be fined under this title or
 8   imprisoned not more than five years, or both.” 18 U.S.C. § 371.
 9         67.   Under Title 18, U.S.C. § 372 provides, “[i]If two or more
10   persons…conspire to prevent, by force, intimidation, or threat, any
11   person from accepting or holding any office, trust, or place of confidence
12   under the United States…or impede him in the discharge of his official
13   duties, each of such persons shall be fined under this title or imprisoned
14   not more than six years, or both.” 18 U.S.C. § 372.
15         61.68.     Additionally, it is a crime carrying a penalty of up to 20
16   years’ imprisonment for anyone who “knowingly ... engages in misleading
17   conduct toward another person, with intent to ... cause or induce any
18   person to ... be absent from an official proceeding to which such person
19   has been summoned by legal process” or to “hinder, delay, or prevent the
20   communication to a law enforcement officer or judge of the United States
21   of information relating to the commission or possible commission of a
22   Federal offense or a violation of ... parole[] or release pending judicial
23   proceedings.” 18 U.S.C. § 1512(b)(2)(D) and (b)(3).
24         62.69.     The 10th Tenth Amendment of the U.S. Constitution
25   holds that the Federal Government may not commandeer State or local
26   resources to administer or enforce a Federal regulatory program against
27   the will of the State or local resources.
28


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 1         63.70.      The 10th Tenth Amendment, however, does not allow a
 2   State or its officials or its resources to violate Federal laws, including
 3   U.S. Federal immigration laws.
 4         64.71.      The 10th Tenth Amendment also does not allow a State
 5   to direct a city or its local officials or its resources to violate Federal laws,
 6   including U.S. Federal immigration laws.
 7         65.72.      And while the 10th Tenth Amendment holds that the
 8   Federal Government may not commandeer State and local resources
 9   against their will to act at the Federal Government’s behest, there is
10   nothing, including the 10th Tenth Amendment itself, that prevents State
11   or local officials or local resources from voluntarily cooperating with the
12   Federal Government in the administration or enforcement of a Federal
13   regulatory program, including U.S. Federal immigration laws. See Cal.
14   ex. Rel. Becerra v. Sessions, 284 F. Supp.3d at 1035 (“No cited authority
15   holds that the scope of state sovereignty includes the power to forbid
16   state or local employees from voluntarily complying with a Federal
17   program.”).
18         66.73.      “Anti-commandeering” under the 10th Amendment is not
19   a barrier to a local jurisdiction’s voluntary cooperation with the Federal
20   Government in the administration or enforcement of a Federal
21   regulatory program, including U.S. Federal immigration laws. See City
22   of New York v. United States, 179 F.3d 29, 35 (2d Cir. 1999) (rejecting the
23   city’s argument to turn the 10th Amendment “into a sword allowing
24   states and localities to engage in passive resistance that frustrates
25   Federal programs.”).
26               2.   Supremacy Clause of the U.S. Constitution
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 1         67.74.       Article VI, Clause 2 of the U.S. Constitution is known as
 2   the “Supremacy Clause.” The Supremacy Clause holds that Federal law
 3   prevails over any conflicting state laws, including immigration laws.
 4         68.75.       The Supremacy Clause mandates that “[t]his
 5   Constitution, and the Laws of the United States which shall be made in
 6   Pursuance thereof . . . shall be the supreme Law of the Land . . . any
 7   Thing in the Constitution or Laws of any State to the Contrary
 8   notwithstanding.” U.S. Const. art. VI, cl. 2.
 9         69.76.       The Supremacy Clause “prohibit[s] States from
10   interfering with or controlling the operations of the Federal
11   Government.” Geo Group, Inc. v. Newsom, 50 F.4th 745, 750 (9th Cir.
12   2022) (quoting United States v. Washington, 142 S. Ct. 1976, 1984
13   (2022)).
14         70.77.       The Constitution affords Congress the power to
15   “establish an uniform Rule of Naturalization,” and to “dispose of and
16   make all needful Rules and Regulations respecting the Territory or other
17   Property belonging to the United States.” U.S. Const. art. IV, § 3. The
18   Constitution also affords the President of the United States the authority
19   to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, §
20   3. Additionally, the Federal Government has “inherent power as
21   sovereign to control and conduct relations with foreign nations.” Arizona,
22   567 U.S. at 395.
23         71.78.       The Federal Government has the preeminent role to
24   regulateof regulating aliens entering the United States and within its
25   borders. U.S. Const. art. I, § 8, cl. 4; U.S. Const. art. I § 8, cl. 3.
26         72.   In U.S. v. King County, Washington,, et al., 2024 U.S. App.
27   LEXIS 30299 (9th Cir. Nov. 29, 2024), the Ninth Circuit wrote “In
28   recognition of the Federal government’s independence from state control,


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 1   the intergovernmental immunity doctrine prohibits states from
 2   ‘interfering with or controlling the operations of the Federal
 3   Government.’” 122 F.4th 740, 756 (9th Cir. 2024) (citation omitted). Id. at
 4   *27.26
 5         73.79.      Recent California legislation that sought to interfere
 6   with the Federal Government’s immigration enforcement efforts was
 7   struck down as unconstitutional. “Whether analyzed under
 8   intergovernmental immunity or preemption, California cannot exert this
 9   level of control over the Federal government’s detention operations.… AB
10   32 therefore violates the Supremacy Clause.” Geo Group, Inc., 50 F.4th
11   at 751.
12         74.80.      “Any state regulation that purports to override the
13   Federal government’s decisions about who will carry out Federal
14   functions runs afoul of the Supremacy Clause.” Geo Group, Inc., 50 F.4th
15   at 750. By purporting to prevent the City of Huntington Beach from
16   voluntarily cooperating with the Federal Government, and by purporting
17   to prevent the City of Huntington Beach from complying with Federal
18   immigration laws under 8 U.S.C §§ 1324, 1373, and 1644, California’s
19   Sanctuary State Law runs afoul of the Supremacy Clause.
20         75.81.      A state enactment is unconstitutional if it is an
21   “‘obstacle to the accomplishment and execution of the full purposes and
22   objectives of Congress.’” Toll, 458 U.S. at 36 (quoting Hines v.
23   Davidowitz, 312 U.S. 52, 67 (1941)).
24         76.82.      The United States Government has broad authority to
25   establish immigration laws, which cannot be hindered or obstructed by
26
27   26
       U.S. v. King County, et al., 2024 U.S. App. LEXIS 30299, at *27 (9th Cir. Nov.
28   29,                        2024),                         https://perma.cc/V5ZU-
     4QWX.https://cdn.ca9.uscourts.gov/datastore/opinions/2024/11/29/23 35362.pdf

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 1   state law. Arizona v. United States, 567 U.S. at 394-95. “Effective
 2   immigration law enforcement requires a cooperative effort between all
 3   levels of government.” City of New York v. United States, 179 F.3d at 32-
 4   33.
 5         77.83.     “The ‘[p]Power to regulate immigration is
 6   unquestionably exclusively a Federal power.’” De Canas v. Bica, 424 U.S.
 7   351,at 354 (1976) (superseded on other grounds by statute as stated in
 8   Kansas v. Garcia, 589 U.S. 191, 195 (2020)Me. Forest Prods. Council v.
 9   Cormier, 586 F. Supp. 3d 22, 39 (Dist. Maine 2022)).
10         78.84.     “[T]he Executive [has] very broad discretion to
11   determine [immigration] enforcement priorities.” Arizona Dream Act
12   Coal. v. Brewer, 855 F.3d 957, 967 (9th Cir. 2017). “Congress expressly
13   charged the Department of Homeland Security with the responsibility of
14   ‘[e]stablishing national immigration enforcement policies and priorities.’”
15   Id. at 967 (quoting 6 U.S.C § 202(5)). Under President Joe Biden’s
16   Administration, the Department of Homeland Security prioritized the
17   arrest and removal of aliens who poses threats to national security,
18   threat to public safety, and threat to border security “or who have
19   unlawfully entered the country only recently.” United States v. Texas,
20   599 U.S. 670, 673 (2023).27
21         79.85.     The U.S. Supreme Court held that Congress intended to
22   preempt the field of immigration. Arizona v. United States, 567 U.S. at
23   399. Field pre-emption is the intent to displace state law that is so
24   pervasive that Congress left no room for the state to supplement it or
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27   27
       See also, Alejandro N. Mayorkas, Guidelines for the Enforcement of Civil
28   Immigration     Law      (Sept.     30,      2021),     https://perma.cc/H9TU-
     Y3M5.https://www.ice.gov/doclib/news/guidelines civilimmigrationlaw.pdf

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 1   that a Federal interest is so dominant that it will be assumed that state
 2   enforcement is precluded. Id.
 3         86.   In Valle Del Sol Inc. v. Whiting, 732 F.3d 1006 (9th Cir. 2019),
 4   the Ninth Circuit Court of Appeal held that 8 U.S.C. § 1324 preempted
 5   state law and that the Federal scheme “reserves prosecutorial power,
 6   and thus discretion, over harboring violations to Federal prosecutors.”
 7   Id. at 1027.
 8         80.87.     There are explicit preemption clauses in 8 U.S.C. §§
 9   1373 and 1644, stating that “[n]otwithstanding any other provision of
10   Federal, State, or local law,” States may not prohibit local government
11   authorities from communicating with DHS “regarding the citizenship or
12   immigration status, lawful or unlawful, of any individual.”
13         81.88.     In an opinion by the California Attorney General in
14   1992 examining a California city’s local sanctuary ordinance, the
15   Attorney General stated that such sanctuary laws are is preempted by 8
16   U.S.C. § 1324. CA Attorney General Opinions, 75 Ops. Cal. Atty. Gen.
17   270 (Nov. 19, 1992).28 The California Attorney General concluded, “Due
18   to the supremacy clause of the United States Constitution, a city may not
19   prohibit its officers and employees from cooperating in their official
20   capacities with Immigration and Naturalization Service investigation,
21   detention, or arrest procedures relating to alleged violations of the civil
22   provisions of the Ffederal immigration laws.” Id. at *1.
23         82.89.     The Attorney General further stated that “[w]hen a
24   peace officer lawfully comes across information in the course of
25   investigating a crime which reasonably leads to the belief that the person
26   arrested is illegally present in this country, neither the state nor Federal
27
28   28
         75 Ops. Cal. Att’y Gen. 270 (Nov. 19, 1992), https://perma.cc/MFH9-46F6.
     https://oag.ca.gov/system/files/opinions/pdfs/92 607.pdf

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 1   Constitution prevents the officer from advising the INS of such
 2   information.” Id. (citing Gates v. Superior Court, 193 Cal.App.3d 205,
 3   219 (1987)).
 4            83.90.       The California Attorney General concluded that the
 5   sanctuary city ordinance conflicteds with Federal law because it would
 6   “undermine the deterrent effect of the criminal or civil penalties
 7   contained in the [Immigration and Naturalization] Act.” CA Attorney
 8   General Opinions, 75 Ops. Cal. Atty. Gen. at *2; see Gates v. Superior
 9   Court, 193 Cal.App.3d at 219 (“Where otherwise warranted investigation
10   by local officers leads to evidence of a Federal civil or criminal violation,
11   the local authority has the right to exchange information with Federal
12   authorities; to deny such an exchange is not reasonable and rewards
13   those Federal violators fortunate enough to be arrested by local, rather
14   than Federal, officials.”).
15            84.91.       The California Attorney General also stated, “The
16   Immigration and Naturalization Act is the law of this land and it is the
17   ‘act of responsible citizenship’ and the ‘duty’ and the right of every citizen
18   to assist in prosecuting and securing punishment for its breach by giving
19   whatever information he or she may have in that regard to aid those who
20   enforce it.” CA Attorney General Opinions, 75 Ops. Cal. Atty. Gen. at *2
21   (quoting 67 Ops. Cal. Atty. Gen. 331, *12-13 (July 24, 1984).29
22            85.92.       Additionally, the California Attorney General, concluded
23   in a 1984 opinion that, while local authorities are under no legally
24   enforceable duty to report to the INS information about persons who
25   entered the country in violation of 8 U.S.C § 1324, they may do so “as a
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          Id. at 264.https://oag.ca.gov/system/files/opinions/pdfs/92 607.pdf

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 1   matter of comity and good citizenship.” See 67 Ops. Cal. Atty. Gen. at
 2   *3.30
 3           86.93.   The California Attorney General further stated that
 4   “Congress surely did not intend that state and local governments would
 5   undermine the deterrent effect of the criminal or civil penalties
 6   contained in the [Immigration Control Act]. By giving the impression
 7   that illegal aliens may obtain refuge from such penalties in a particular
 8   locale, the ordinance creates localized immigration policy and dissipates
 9   enforcement of Federal laws.” CA Attorney General Opinions, 75 Ops.
10   Cal. Atty. Gen. at *5.
11           87.94.   The California Attorney General determined that a
12   sanctuary city ordinance “concerns a subject matter, immigration,
13   wherein Federal power to regulate is exclusive.” CA Attorney General
14   Opinions, 75 Ops. Cal. Atty. Gen. at *3 (citing De Canas v. Bica, 424 U.S.
15   351, 354-55 (1975)). Federal preemption occurs when the local
16   enactment “stands as an obstacle to the accomplishment and execution of
17   the full purposes and objectives of Congress.” Hines v. Davidowitz, 312
18   U.S. at 67.
19           88.95.   The California Attorney General further determined
20   “[T]hat Congress has placed great importance on the immigration
21   detection effort is evidenced by the criminal penalties which have been
22   established for those who assist illegal aliens in escaping detection.” CA
23   Attorney General Opinions, 75 Ops. Cal. Atty. Gen. at *5 (citing 8 U.S.C
24   § 1324); see United States v. Rubio-Gonzales (5th Cir. 1982) 674 F.2d
25   1067, 1073; United States v. Cantu (5th Cir. 1977) 557 F.2d 1173, 1180;
26
27
     30
28       67 Ops. Cal. Att’y. Gen. 333 (1984), https://perma.cc/B552-
     3J94.https://oag.ca.gov/system/files/opinions/pdfs/83 902_0.pdf

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 1   United States v. Lopez (2d Cir. 1975) 521 F.2d 437, 444; 67 Ops. Cal.
 2   Atty. Gen. at *10, n. 16.
 3            89.96.       The California Attorney General found the local
 4   sanctuary ordinance to be “‘an obstacle to the accomplishment and
 5   execution of the full purposes and objectives of Congress.’” CA Attorney
 6   General Opinions, 75 Ops. Cal. Atty. Gen. at *6 (quoting Hines v.
 7   Davidowitz, 312 U.S. at 67). “A direct conflict with a Federal or state
 8   statute or regulation presents a separate and distinct basis for the
 9   preemption of a local ordinance.” (CA Attorney General Opinions, 75
10   Ops. Cal. Atty. Gen. at *6, n. 9 (citations omitted).31
11            90.97.       The Sanctuary State Law is no different than the city
12   ordinances discussed in the Attorney General’s opinions. As tThe
13   Attorney General has correctly opinedconcluded that Federal law
14   preempted the local sanctuary ordinances, and that conclusion also
15   applies to the Sstate Ssanctuary Llaw. Congress intendeds to preempt
16   state law over criminal immigration enforcement because it “surely did
17   not intend that state and local governments would undermine the
18   deterrent effect of the criminal or civil penalties contained in the
19   [Immigration Control Act]. By giving the impression that illegal aliens
20   may obtain refuge from such penalties in a particular locale, [the
21   Sanctuary State Law] creates localized immigration policy and dissipates
22   enforcement of Federal laws.” CA Attorney General Opinions, 75 Ops.
23   Cal. Atty. Gen. at *5.32
24            D.    Obstruction Caused by the Sanctuary State Law
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26   31
           75 Ops. Cal. Att’y. Gen. 268, (1992), https://perma.cc/MFH9-46F6.
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     https://oag.ca.gov/system/files/opinions/pdfs/92 607.pdf
28   32
          Id. at 267.https://oag.ca.gov/system/files/opinions/pdfs/92 607.pdf

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 1         91.98.      Among many things, the Sanctuary State Law’s
 2   interference with the City’s coordination with the Federal Government in
 3   order to “protect” illegal immigrants from the Federal Government’s
 4   enforcement of the U.S. Federal immigration laws as Defendants
 5   Governor Newsom and Attorney General Robert Bonta explain, amounts
 6   to “harboring” of illegal aliens by the State of California.
 7         92.99.      The Ninth Circuit has joined the Third, Fourth, and
 8   Eleventh Circuit in concluding that the Federal scheme on harboring
 9   under 8 U.S.C. § 1324 is comprehensive and field preemptive. Valle Del
10   Sol Inc., 732 F.3d at 1025-26; see Lozano v. City of Hazleton, 724 F.3d
11   297, 315-16 (3rd Cir. 2013) (joining the Eleventh Circuit in finding that
12   state law proscribing harboring or sheltering aliens infringes upon a
13   “comprehensive statutory scheme”) (citing United States v. Alabama, 691
14   F.3d 1269, 1285-87 (11th Cir. 2012)); United States v. South Carolina,
15   906 F. Supp. 2d 463, 468 (D.S.C. 2012), aff’d, 720 F.3d 518 (11th Cir.
16   July 23, 2013).
17         93.100.     The “INA provides a comprehensive framework to
18   penalize the transportation, concealment, and inducement of unlawfully
19   present aliens.” Under this statutory scheme (8 U.S.C. §
20   1324(a)(1)(A)(ii)-(iv)), the “Federal government has clearly expressed
21   more than a ‘peripheral concern’ with the entry, movement, and
22   residence of aliens within the United States and the breadth of these
23   laws illustrates an overwhelmingly dominant Federal interest in the
24   field. Georgia Latina Alliance for Human Rights v. Governor of GA, 691
25   F.3d 1250, 1263-64 (11th Cir. 2012) (GLAHR).
26         94.101.     The Sanctuary State Law prohibits the cooperation
27   between City officials, including the Huntington Beach Police personnel,
28   and the Federal Government on Federal immigration laws enforcement.


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 1         95.102.    Under the Supremacy Clause, any state law “which
 2   interferes with or is contrary to Federal law, must yield.” Gade v.
 3   National Solid Wastes Management Association, 505 U.S. 88, 108 (1992).
 4         96.103.    Similar to Arizona’s statute in Valle Del Sol, the
 5   Sanctuary State Law is preempted because it prohibits Huntington
 6   Beach police officers from to notifying Federal authorities of any
 7   unauthorized aliens in its custody, which violates 8 U.S.C. §§ 1373 and
 8   1644, and it violates 8 U.S.C. § 1324(a)(1)(iii) by requiring Huntington
 9   Beach police officers to when they “knowing[ly] or in reckless disregard”
10   “conceal[]s, harbor[]s, or shield[]s from detection” aliens in its
11   Huntington Beach’s City Jail or “any means of transportation.”
12         97.104.    “Given the Federal primacy in the field of enforcing
13   prohibitions on the transportation, harboring, and inducement of
14   unlawfully present aliens, the prospect of 50 fifty individual attempts to
15   regulate immigration-related matters cautions against permitting states
16   to intrude into this area of dominant Federal concern.” Valle Del Sol,
17   732 F. 3d at p. 1027 (quoting GLAHR, 691 F.3d at 1266).
18         98.105.    The Sanctuary State Law frustrates the Department of
19   Homeland Security’s enforcement priorities to arrest or removeal
20   individuals who are a threat to national security, public safety, or
21   recently entered the United States unlawfully. In fact, the California
22   Attorney General Bonta has expressed supports for DHS’s enforcement
23   priorities to arrest or remove individuals who pose a risk to public safety,
24   are terrorists, or recently arrived.
25         99.106.    City officials, including Huntington Beach Police
26   personnel, cannot obey the Sanctuary State Law without violating 8
27   U.S.C, § 1324(a)(1)(iii) when they have knowledge or in reckless
28   disregard that an individual in their custody is in violation of law and


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 1   are prohibited from sharing the information with the Federal
 2   authorities.
 3           100.107.   The Orange County Sheriff, Don Barnes, is required to
 4   report annually to the Orange County Board of Supervisors on the
 5   county’s compliance with California Government Code §§ 7283 and
 6   7283.1 (“California’s Transparent Review of Unjust Transfers and Holds
 7   (“TRUTH”) Act).
 8           101.108.   Sheriff Barnes stated that OCSD is prohibited by State
 9   law from to notifying Immigration Control and EnforcementICE of the
10   release of inmates with ICE detainers. In 2018, 1,106 inmates who had
11   ICE detainers but did not meet eligibility for notifying ICE were released
12   into the community. 173 out Oof those 1,106 inmates, 173 were
13   rearrested “in Orange County for committing 58 different types of
14   crimes, including attempted murder, assault and battery, child
15   molestation, and robbery.” (Exhibit “A.”)
16           102.109.   In 2019, OCSD released 1,015 inmates had with ICE
17   detainers into the community without notifying ICE of their release
18   because they did not meet state law requirement for notification. “Of the
19   1,015 inmates with ICE detainers who were released back into the
20   community, 238 have been rearrested in Orange County for committing
21   new crimes, including assault and battery, rape, and robbery.” (Exhibit
22   “B.”)
23           103.110.   In 2020, OCSD released 168 inmates who had ICE
24   detainers but did not meet the state law’s requirement for notifying ICE
25   were released into the community. Out of the 168 inmates, 36 were
26   rearrested for new crimes in Orange County. (Exhibit “C.”)
27           104.111.   In 2021, OCSD released 199 inmates who had ICE
28   detainers. In compliance with state law, 143 of these 199 inmates met


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 1   the state’s requirement for transfer to ICE’s custody. Only 73 out of the
 2   143 individuals were transferred to ICE’s custody. The 70 individuals
 3   who were eligible for transfer to ICE, but were not, were released into
 4   the community. A total of 24 out of the 70 individuals were re-arrested
 5   for committing new crimes in Orange County. (Exhibit “D.”)
 6         105.112.   In 2021, there were 56 inmates who had ICE detainers
 7   but did not meet state law requirements for notifying ICE of their
 8   release. Of the 56 released into the community, three were rearrested
 9   for committing new crimes in Orange County. (Exhibit “D.”)
10         106.113.   In 2022, 272 inmates were released form from Orange
11   County jail had with ICE detainers. OCSD notified ICE of the inmates
12   who were eligible for transfer to ICE’s custody. Of the 155 individuals
13   who met the eligibility, only 17 were transferred to ICE’s custody. The
14   other 138 individuals were released into the community. A total of 20 of
15   these individuals were rearrested for committing new crimes in Orange
16   County. (Exhibit “E.”)
17         107.114.   In 2022, there were 117 inmates who had ICE detainers,
18   but state law prohibited OCSD from notifying ICE. They were released
19   into the community. A total of 13 were rearrested for new crimes in
20   Orange County. (Exhibit “E.”)
21         108.115.   In 2023, there were 547 inmates who had with ICE
22   detainers were released from Orange County Jail. OCSD notified ICE of
23   the inmates who were eligible for transfer to ICE’s custody under state
24   law. About 81 of those inmates eligible for notification and transfer to
25   ICE’s custody were not transferred and were instead released into the
26   community. A total of 40 of those individuals were rearrested for
27   committing new crimes in Orange County. (Exhibit “F.”)
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 1         109.116.     In 2023, there were 245 inmates with ICE detainers
 2   who were not eligible for notifying ICE and were released into the
 3   community. Out of them, 27 were rearrested for new crimes in Orange
 4   County. These crimes were robbery, carjacking, kidnapping, parole or
 5   probation violation, sales or transport of narcotics, domestic violence,
 6   assault with a deadly weapon, and felony driving under the influence.
 7   (Exhibit “F.”33)
 8         110. Huntington Beach police officers cannot comply with both
 9   State and Federal laws while carrying out their duty. For example, for
10   an unauthorized alien who was arrested for allegedly committing petty
11   theft and placed in city jail, the Sanctuary State Law prohibits
12   Huntington Beach Police officers from sharing information with ICE. or
13   Even if ICE requests information about the individual, Huntington
14   Beach cannot provide information about the individual, and thus, the
15   City would be concealing, harboring or shielding from detection an
16   unauthorized alien in its “building” under 8 U.S.C. § 1324(a)(1)(iii). And
17   if ICE arrives at the jail facility, Huntington Beach authority must
18   refuse assumption of custody, as mandated by the Sanctuary State Law.
19   The Sanctuary State Law puts Huntington Beach is in violation of 8
20   U.S.C. § 1324(a)(1)(iii).
21         111. / / /
22   ///
23         112.117.     ///
24
25
     33
26     During his presentation to the Orange County Board of Supervisors, Sheriff
     Barnes reported that 27 inmates who were released into the community committed
27
     new crimes. Sheriff Barnes specified the types of crimes that these 27 individuals
28   committed. However, these crimes were not specified in the staff report (Exhibit
     “F”). See https://ocgov.granicus.com/player/clip/5109?view_id=8&redirect=true

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 1         113.118.      Compliance with 8 U.S. C.ode, Section § 1324(a)(1)(ii) is
 2   vital to stopping      human smuggling. The Sanctuary State Law
 3   mandates that law enforcement does not cooperate with Federal
 4   authorities over immigration matters, including joining a task force.
 5         114.119.      Huntington Beach, City officials, including Huntington
 6   Beach Police Department personnel, are prohibited from cooperating,
 7   detaining, or investigating whether there is a potential for human
 8   trafficking. City officials, including Huntington Beach Police
 9   Department personnel, are prohibited from informing the Federal
10   Government that about an alien engaged in smuggling individuals into
11   the United States, if that alien who are is not otherwise engaged in
12   human trafficking for forced labor or sex services.
13         120. Under the Sanctuary State Law, Huntington Beach Police
14   Officers are prohibited from asking about the immigration status of
15   aliens working for an employer. Cal. Gov. Code § 7284.6 (a)(1)(A).
16         E.   Harm to the Plaintiffs Caused by the Sanctuary State
17              Law
18         121. The Sanctuary State Law harms the Plaintiffs.
19         122. It incentivizes increased illegal immigration and the presence
20   of higher numbers of illegal aliens within the City.
21         123. The City of Huntington Beach has proprietary interests that
22   are harmed by the presence of increased numbers of illegal aliens.
23         124. For example, the City has proprietary economic interests that
24   are harmed by the increased number of illegal aliens in the City caused
25   by the Sanctuary State Law. These harms include, among other things,
26   1) decreased revenue caused by illegal alien residents and workers who
27   do not pay taxes; and 2) lower property tax revenue from decreased
28   property values.


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 1         125. Illegal aliens also harm the City’s proprietary interests by
 2   increasing the City’s expenditures for, among other things, the following:
 3   1) criminal enforcement; 2) enforcement of labor and health laws and
 4   regulations; and 3) increased expenditure of public funds to provide
 5   public services to illegal aliens.
 6         126. The Sanctuary State Law also harms the City by interfering
 7   with its proprietary interest in regulating within its jurisdiction,
 8   including by conducting law enforcement activities in conformity with
 9   the requirements of Federal law.
10         127. The Sanctuary State Law also harms the City and each of the
11   individually named Plaintiffs by subjecting the City’s officers and
12   employees, including the named individual Plaintiffs, to a genuine risk of
13   prosecution under State law for engaging in conduct that is required by,
14   or protected by, Federal law and the U.S. Constitution.
15         128. The genuine risk of prosecution under the Sanctuary State
16   Law also harms the City’s propriety interests because of the fiscal cost of
17   those prosecutions, which will cause the City to incur significant costs for
18   defending itself and its officers and employees.
19         129. The Sanctuary State Law also harms the individual Plaintiffs
20   by infringing their Free Speech rights under the First Amendment to the
21   U.S. Constitution for speech that is specifically protected by 8 U.S.C. §§
22   1373 and 1644.
23         115.130.    The Sanctuary State Law also harms the individual
24   Plaintiffs by restricting them from engaging in conduct that is protected
25   under federal law, such as under 8 U.S.C. §§ 1373 and 1644.
26
27                          FIRST CAUSE OF ACTION
28               VIOLATION OF THE SUPREMECY CLAUSE


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 1         ARTICLE VI, CLAUSE 2 OF THE U.S. CONSTITUTION
 2                    Title 8, U.S.C. §§ 1324, 1373, and 1644
 3                            (Against All Defendants)
 4         116.131.    Plaintiffs hereby incorporate the allegations made in
 5   each preceding paragraph of this Complaint as if fully set forth herein.
 6         117.132.    The Sanctuary State Law is unconstitutional. See U.S.
 7   Const. art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8
 8   U.S.C. §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512;
 9   see also Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
10         118.133.    The Supremacy Clause mandates that “[t]his
11   Constitution, and the Laws of the United States which shall be made in
12   Pursuance thereof . . . shall be the supreme Law of the Land . . . any
13   Thing in the Constitution or Laws of any State to the Contrary
14   notwithstanding.” U.S. Const. art. VI, cl. 2.
15         119.134.    The Supremacy Clause “prohibit[s] States from
16   interfering with or controlling the operations of the Federal
17   Government.” Geo Group, Inc., 50 F.4th at 750 (quoting United States v.
18   Washington, 142 S. Ct. at 1984).
19         120.135.    The Sanctuary State Law violates the Supremacy
20   Clause precisely because it interferes with, in fact it obstructs, the
21   Federal Government’s efforts to coordinate to enforce U.S. Federal
22   immigration laws, including but not limited to 8 U.S.C. §§ 1324, 1373,
23   and 1644. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,7285.2.
24         121.136.    Under the Sanctuary State Law, City officials, including
25   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
26   shield from detection” any alien in their custody in violation of 8 U.S.C. §
27   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
28   7285.2.


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 1         122.137.   City officials, including Huntington Beach Police
 2   personnel, are unable to fulfill their duty to investigate or detain
 3   individuals having committed crimes without violating the Sanctuary
 4   State Law. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.)
 5         123.138.   The Sanctuary State Law prohibits local law
 6   enforcement officers to from cooperatinge with the Federal Government
 7   in criminal immigration investigation. See Cal. Gov. Code §§ 7282.5,
 8   7284.4, 7284.6, 7285.1, 7285.2.
 9         124.139.   The Sanctuary State Law bars local jurisdictions from
10   complying with 8 U.S.C. §§ 1324, 1373, and 1644, or participatinge in a
11   joint task force. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
12   7285.2.
13         125.140.   The Sanctuary State Law restricts cooperation between
14   local law enforcement agencies and the Federal Government. See Cal.
15   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.)
16         126.141.   The Sanctuary State Law’s interference with the City’s
17   coordination with the Federal Government in order to “protect” illegal
18   immigrants from the Federal Government’s enforcement of the U.S.
19   Federal immigration laws as Defendants Governor Newsom and
20   Attorney General Robert Bonta stated, amounts to “harboring” of illegal
21   aliens by the State of California.
22         127.142.   City officials, including Huntington Beach Police
23   personnel, are unable to stop crime before it occurs. Instead, they must
24   sit idly by and wait for a human smuggling incident to become a human
25   trafficking situation in order to intervene and comply with California
26   Government Code §§ 7282.5, 7284.4, 7284.6.
27         143. The Sanctuary State Law is an obstacle to the City’s ability to
28   comply with U.S. Federal immigration laws. It prevents City officials,


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 1   including Huntington Beach Police personnel, from full, effective law
 2   enforcement and obstructs the City’s ability to coordinate and cooperate
 3   with Federal law enforcement agencies. As U.S. Federal immigration
 4   law, according to the Supremacy Clause, is supreme, the Sanctuary State
 5   Law is an unconstitutional barrier to the City’s effective law enforcement
 6   efforts.
 7         128.144.   Governor Newsom and Attorney General Bonta have
 8   publicly expressed on multiple occasions their intent to enforce the
 9   Sanctuary State Laws and they have a direct connection to such
10   enforcement by virtue of the offices that they hold. Governor Newsom’s
11   and Attorney General Bonta’s violations of the Supremacy Clause are
12   ongoing. Their enforcement of the Sanctuary State Law causes ongoing
13   harm to the Plaintiffs, and prospective injunctive relief will redress that
14   harm.
15         129.145.   Plaintiffs have no adequate remedy at law. Absent
16   relief, Defendants’ actions continue to harm and threaten to harm
17   Plaintiffs by impairing enjoyment of this right.
18   ///
19   ///
20   ///
21                          SECOND CAUSE OF ACTION
22              VIOLATION OF THE NATURALIZATION CLAUSE
23   ARTICLE I, SECTION 8, CLAUSE 4 OF THE U.S. CONSTITUTION
24                              Title 8, U.S.C. § 1324
25                           (Against All Defendants)
26         130.146.   Plaintiffs hereby incorporate the allegations made in
27   each preceding paragraph of this Complaint as if fully set forth herein.
28


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 1            131.147.   The Sanctuary State Law is unconstitutional. See U.S.
 2   Const. art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8
 3   U.S.C. §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512;
 4   see also Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
 5            132.148.   Article I, Section 8, Clause 4 of the U.S. Constitution
 6   provides Congress with the “power… To establish an uniform Rule of
 7   Naturalization… throughout the United States.” U.S. Const. art. I, § 8,
 8   cl. 4.
 9            133.149.   In addition to conferring Congress with power to
10   determine when foreign nationals may obtain U.S. citizenship, the
11   Naturalization Clause is viewed as contributing to Congress’s power over
12   immigration, including its power to set rules for when aliens may enter
13   or remain in the United States.
14            134.150.   In Arizona v. United States, 567 U.S. at 387, the
15   Supreme Court declared that the Federal Government’s “broad,
16   undoubted power” over immigration was partially based “on the national
17   government’s constitutional power to ‘establish an uniform Rule of
18   Naturalization,’ and its inherent power as sovereign to control and
19   conduct relations with foreign nations.” Id. at 394–95 (quoting U.S.
20   Const. art. I, § 8, cl. 4).
21            135.151.   The Sanctuary State Law violates the City’s right to
22   fully control its own Police Department and fully and effectively engage
23   in law enforcement. Moreover, neither the State, nor its laws, may
24   prevent the City of Huntington Beach from honoring, following, and/or
25   complying with State and all Federal laws, including Federal laws on
26   immigration, which is the supreme law of the land on immigration.
27            136.152.   The Sanctuary State Law violates the City’s right to
28   fully control its own Police Department and fully and effectively engage


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 1   in law enforcement. Specifically, California Government Code §§ 7282.5,
 2   7284.4, 7284.6, 7285.1, and 7285.2 prohibit local law enforcement officers
 3   to from cooperatinge with the Federal Government in criminal
 4   immigration investigation.
 5         137.153.     Under the Sanctuary State Law, City officials, including
 6   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
 7   shield from detection” any alien in their custody in violation of 8 U.S.C.§
 8   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
 9   7285.2.
10         138.154.     The Sanctuary State Law bars local jurisdiction from
11   complying with 8 U.S.C. §§ 1324, 1373, and 1644 or participatinge in a
12   joint task force. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
13   7285.2.
14         139.155.     California Government Code §§ 7284.4 and 7282.5
15   restrict cooperation between local law enforcement agencies and the
16   Federal Government.
17         140.156.     The Sanctuary State Law allows for smugglers to
18   transport individuals into the United States in violation of 8 U.S.C. §
19   1324 for financial gain.
20         141.157.     The Sanctuary State Law places aliens at risk of harm
21   or being trafficked because California Law Enforcement Agencies cannot
22   engage in the enforcement of 8 U.S.C. § 1324.
23         142.158.     The Sanctuary State Law prohibits local law
24   enforcement agencies from asking employers about a person’s
25   immigration status under 8 U.S.C. § 1324(a)(3). Cal. Gov. Code §
26   7284.6(a)(1)(A).
27         143.159.     In recent years, Defendant Governor Gavin Newsom has
28   taken a series of substantial steps to incentivize the inflow of illegal


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 1   immigration into California, and to protect and harbor illegal
 2   immigrants, with including by the implementing of policies and laws
 3   to: hire illegal immigrants in jobs in State government, give illegal
 4   immigrants taxpayer funded downpayments of $150,000 to buy homes,
 5   spend $2.3 million of taxpayer money to support the relocating and
 6   settling of illegal immigrants in rural areas of the State, give illegal
 7   immigrants home mortgage aid to buy homes, newly allocating $25
 8   million in taxpayer- funded legal defense fund for illegal immigrants to
 9   fight the Federal government’s announced crackdown on illegal
10   immigration, which seeks to combat the violent crimes committed
11   against U.S. citizens, and the list goes on.
12         144.160.   In addition, on December 17, 2024, Defendant Attorney
13   General Robert Bonta issued a Press Release advising illegal immigrants
14   on the ways in which his office, and the State, were going to assist in
15   shielding illegal immigrants from “threats of mass detention, arrests,
16   and deportation” and thus from detection and detention by the Federal
17   Government. In that Ppress rRelease, Robert Bonta directly advised
18   that “[y]You have the right to apply for and secure housing without
19   sharing your immigration status,” and “[y]You have the right to an
20   attorney.”
21         145.161.   Defendant Robert Bonta has stated, “State and local law
22   enforcement cannot ask for your immigration status” and “State and
23   local law enforcement cannot share your personal information” and
24   “State and local law enforcement cannot assist ICE with immigration
25   enforcement.” Not only does the promises in his statement constitute
26   reflect a violations of Federal immigration law, his statement also
27   indicates reveals a systematic program by the State to shield illegal
28   immigrants in response to “the President-elect making clear his intent to


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 1   move forward an inhumane and destructive immigration agenda once he
 2   takes office.” Defendant Robert Bonta’s statements make clear that his
 3   systematic program to protect illegal immigrants conflicts with U.S.
 4   Federal immigration laws and Federal Government operations.
 5         146.162.   “Effective immigration law enforcement requires a
 6   cooperative effort between all levels of government.” City of New York v.
 7   United States, 179 F.3d at 32-33.
 8         163. The Sanctuary State Law violates Article I, Section 8, Clause
 9   4 of the U.S. Constitution by actively obstructing the authority of the
10   Federal Government and obstructing the City’s ability to employ all laws
11   available, including U.S. Federal immigration laws, to combat crime and
12   ensure public safety by coordinating with the Federal Government to
13   deal with certain individuals committing crimes and who are subject to
14   U.S. Federal immigration laws.
15         147.164.   Governor Newsom and Attorney General Bonta have
16   publicly expressed on multiple occasions their intent to enforce the
17   Sanctuary State Laws and they have a direct connection to such
18   enforcement by virtue of the offices that they hold. Governor Newsom’s
19   and Attorney General Bonta’s violations of the Naturalization Clause are
20   ongoing. Their enforcement of the Sanctuary State Law causes ongoing
21   harm to the Plaintiffs, and prospective injunctive relief will redress that
22   harm.
23         148.165.   Plaintiffs have no adequate remedy at law. Absent
24   relief, Defendants’ actions continue to harm and threaten to harm
25   Plaintiffs by impairing enjoyment of this right.
26
27                          THIRD CAUSE OF ACTION
28           VIOLATION OF U.S. FEDERAL IMMIGRATION LAWS


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 1                             TITLE 8, U.S.C. § 1324
 2                            (Against All Defendants)
 3         149.166.    Plaintiffs hereby incorporate the allegations made in
 4   each preceding paragraph of this Complaint as if fully set forth herein.
 5         150.167.    The Sanctuary State Law is unconstitutional. See U.S.
 6   Const. art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8
 7   U.S.C. §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512;
 8   see also Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
 9         151.168.    In 1952, Congress enacted the INA. 8 U.S.C. §§ 1101-
10   1537. Section 274 of the INA, 8 U.S.C. § 1324, was enacted to combat
11   human smugglers and imposes criminal penalties on anyone who “brings
12   to or attempts to bring to the United States in any manner whatsoever
13   [an alien] ... at a place other than a designated port of entry”; on anyone
14   who “transports, or moves or attempts to transport or move ... [an illegal]
15   alien within the United States”; anyone who “conceals, harbors, or
16   shields from detection” an illegal alien, “or attempts to” do so; or anyone
17   who “encourages or induces an alien” illegally “to come to, enter, or
18   reside in the United States.” 8 U.S.C. 1324(a)(1)(A). In 1986, Congress
19   enacted the Immigration and Naturalization Act. 8 U.S.C. §§ 1101-1537.
20   Title 8, U.S.C. § 1324 was enacted to combat human smugglers who
21   commit the crime by “bringing people into the United States, or
22   unlawfully transporting and harboring people already in the United
23   States, in deliberate evasion of immigration law.”
24         152. In part, 8 U.S.C. § 1324 makes it a Federal crime for any
25   person to “knowing that a person is an alien, brings to or attempts to
26   bring to the United States in any manner whatsoever such person at a
27   place other than a designated port of entry or place other than as
28   designated by the Commissioner, regardless of whether such alien has


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 1   received prior official authorization to come to, enter, or reside in the
 2   United States and regardless of any future official action which may be
 3   taken with respect to such alien.” 8 U.S.C. § 1324(a)(1)(A)(i).
 4         153.169.   Title 8, U.S.C. § 1324 also makes it a Federal crime for
 5   any person to “knowing or in reckless disregard of the fact that an alien
 6   has come to, entered, or remains in the United States in violation of law,
 7   conceals, harbors, or shields from detection, or attempts to conceal,
 8   harbor, or shield from detection, such alien in any place, including any
 9   building or any means of transportation.” 8 U.S.C. § 1324(a)(1)(A)(ii).
10         154.170.   And, 8 U.S.C. § 1324 makes it a Federal crime for any
11   person to “knowingly hire[]s for employment at least 10 individuals with
12   actual knowledge that the individuals are aliens described in
13   subparagraph (B).” 8 U.S.C. § 1324(a)(3)(A).
14         155.171.   Under the Sanctuary State Law, City officials, including
15   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
16   shield from detection” any alien in their custody in violation of 8 U.S.C. §
17   1324(a)(1)(iii). See Cal. Gov. Code §§ 7284.4, 7282.5, 7284.6, 7285.1,
18   7285.2.
19         156.172.   City officials, including Huntington Beach Police
20   personnel, are unable to fulfill their duty to investigate or detain
21   individuals having committed crimes without violating the Sanctuary
22   State Law. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
23         157.173.   The Sanctuary State Law prohibits local law
24   enforcement officers to from cooperatinge with the Federal Government
25   in criminal immigration investigations. See Cal. Gov. Code §§ 7282.5,
26   7284.4, 7284.6, 7285.1, 7285.2.
27         158.174.   The Sanctuary State Law bars local jurisdictions from
28   complying with 8 U.S. C.ode, Section §§ 1324, 1373, and 1644 or


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 1   participatinge in a joint task force. See Cal. Gov. Code §§ 7282.5, 7284.4,
 2   7284.6, 7285.1, 7285.2.
 3         159.175.   The Sanctuary State Law restricts cooperation between
 4   local law enforcement agencies and the Federal Government. See Cal.
 5   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 6         160.176.   The Sanctuary State Law’s interference with the City’s
 7   coordination with the Federal Government in order to “protect” illegal
 8   immigrants from the Federal Government’s enforcement of the U.S.
 9   Federal immigration laws, as Defendants Governor Newsom and
10   Attorney General Robert Bonta have declared, is “harboring” of illegal
11   aliens by the State of California.
12         161.177.   City officials, including Huntington Beach Police
13   personnel, are unable to stop crime before it occurs. Instead, they must
14   sit idly by and wait for a human smuggling incident to become a human
15   trafficking situation in order to intervene and comply with California
16   Government Code §§ 7282.5, 7284.4, 7284.6.
17         178. The Sanctuary State Law is an obstacle to the City’s ability to
18   comply with U.S. Federal immigration laws. It prevents City officials,
19   including Huntington Beach Police personnel, from full, effective law
20   enforcement and obstructs the City’s ability to coordinate and cooperate
21   with Federal law enforcement agencies. Pursuant to the Supremacy
22   Clause, U.S. Federal immigration law is supreme, and the Sanctuary
23   State Law is an unconstitutional barrier to the City’s effective law
24   enforcement efforts.
25         162.179.   Governor Newsom and Attorney General Bonta have
26   publicly expressed on multiple occasions their intent to enforce the
27   Sanctuary State Laws and they have a direct connection to such
28   enforcement by virtue of the offices that they hold. Governor Newsom’s


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 1   and Attorney General Bonta’s violations of 8 U.S.C. § 1324 are ongoing.
 2   Their enforcement of the Sanctuary State Law causes ongoing harm to
 3   the Plaintiffs, and prospective injunctive relief will redress that harm.
 4         163.180.    Plaintiffs have no adequate remedy at law. Absent
 5   relief, Defendants’ actions continue to harm and threaten to harm
 6   Plaintiffs by impairing enjoyment of this right.
 7
 8                          FOURTH CAUSE OF ACTION
 9          VIOLATION OF U.S. FEDERAL IMMIGRATION LAWS
10                       TITLE 8, U.S.C. §§ 1373 and 1644
11                            (Against All Defendants)
12         164.181.    Plaintiffs hereby incorporate the allegations made in
13   each preceding paragraph of this Complaint as if fully set forth herein.
14         165.182.    The Sanctuary State Law is unconstitutional. See U.S.
15   Const. art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8
16   U.S.C. §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512;
17   see also Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
18         183. Title 8, U.S.C. § 1373(a) provides, “Notwithstanding any other
19   provision of Federal, State, or local law, a Federal, State, or local
20   government entity or official may not prohibit, or in any way restrict, any
21   government entity or official from sending to, or receiving from, the
22   Immigration and Naturalization Service ... [DHS] information regarding
23   the citizenship or immigration status, lawful or unlawful, of any
24   individual.”
25         184. Similarly, 8 U.S.C. § 1644 states that “Notwithstanding any
26   other provision of Federal, State, or local law, no State or local
27   government entity may be prohibited, or in any way restricted, from
28


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 1   sending to or receiving from ... [DHS] information regarding the
 2   immigration status, lawful or unlawful, of an alien in the United States.”
 3         166.185.   The Sanctuary State Law “prohibit[s]” and “restrict[s]”
 4   the Plaintiffs and the City’s employees “from sending to, or receiving
 5   from,” DHS “information regarding the immigration status” of aliens. 8
 6   U.S.C. § 1373 and 1644. The Sanctuary State Law, therefore, violates
 7   federal statutes containing specific preemption clauses.
 8         167.186.   Under the Sanctuary State Law, City officials, including
 9   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
10   shield from detection” any alien in their custody in violation of 8 U.S.C.§
11   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
12   7285.2.
13         168.187.   The Sanctuary State Law prohibits local law
14   enforcement officers to from cooperatinge with the Federal Government
15   in criminal immigration investigation. See Cal. Gov. Code §§ 7282.5,
16   7284.4, 7284.6, 7285.1, 7285.2.
17         169.188.   The Sanctuary State Law’s interference with the City’s
18   coordination with the Federal Government in order to “protect” illegal
19   immigrants from the Federal Government’s enforcement of the Federal
20   immigration laws, as Defendants Governor Newsom and Attorney
21   General Robert Bonta have declared, is “harboring” of illegal aliens by
22   the State of California.
23         189. The Sanctuary State Law is an obstacle to the City’s ability to
24   comply with U.S. Federal immigration laws. It prevents City officials,
25   including Huntington Beach Police personnel, from full, effective law
26   enforcement and obstructs the City’s ability to coordinate and cooperate
27   with Federal law enforcement agencies. Pursuant to the Supremacy
28   Clause, U.S. Federal immigration law is supreme, and the Sanctuary


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 1   State Law is an unconstitutional barrier to the City’s effective law
 2   enforcement efforts.
 3         170.190.    Governor Newsom and Attorney General Bonta have
 4   publicly expressed on multiple occasions their intent to enforce the
 5   Sanctuary State Laws and they have a direct connection to such
 6   enforcement by virtue of the offices that they hold. Governor Newsom’s
 7   and Attorney General Bonta’s violations of 8 U.S.C. §§ 1373 and 1644 are
 8   ongoing. Their enforcement of the Sanctuary State Law causes ongoing
 9   harm to the Plaintiffs, and prospective injunctive relief will redress that
10   harm.
11         171.191.    Plaintiffs have no adequate remedy at law. Absent
12   relief, Defendants’ actions continue to harm and threaten to harm
13   Plaintiffs by impairing enjoyment of this right.
14
15                          FIFTH CAUSE OF ACTION
16       VIOLATION OF U.S. FEDERAL IMMIGRATION CRIMINAL
17                                       LAWS
18               TITLE 18, U.S.C. §§ 4, 371, AND 372, and 1512
19                            (Against All Defendants)
20         172.192.    Plaintiffs hereby incorporate the allegations made in
21   each preceding paragraph of this Complaint as if fully set forth herein.
22         173.193.    The Sanctuary State Law is unconstitutional. See U.S.
23   Const. art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8
24   U.S.C. §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512;
25   see also Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
26         194. The Sanctuary State Law requires the Plaintiffs to commit
27   federal crimes under Title 18, U.S.C. § 4, which provides that,
28   “[w]Whoever, having knowledge of the actual commission of a felony


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 1   cognizable by a court of the United States, conceals and does not as soon
 2   as possible make known the same to some judge or other person in civil
 3   or military authority under the United States, shall be fined under this
 4   title or imprisoned not more than three years, or both.” 18 U.S.C. § 4.
 5         174.195.   The Sanctuary State Law requires the plaintiffs to
 6   commit federal crimes under 18 U.S.C. § 4 because it forbids the
 7   Plaintiffs from disclosing immigration-related felonies committed by
 8   aliens to federal authorities. Some examples of such felonies include: 1)
 9   improper entry and re-entry into the United States, 8 U.S.C. §§ 1325(a)
10   and 1326; establishing “a commercial enterprise for the purpose of
11   evading any provision of the immigration laws,” 8 U.S.C. § 1325(d); and
12   bringing in and harboring aliens, 8 U.S.C. § 1324.
13         196. The Sanctuary State Law also requires the Plaintiffs to
14   commit federal crimes under Title 8, U.S.C. § 371, which provides that,
15   “[i]If two or more persons conspire to either to commit any offense
16   against the United States, or to defraud the United States, or any agency
17   thereof in any manner or for any purpose…each shall be fined under this
18   title or imprisoned not more than five years, or both.” See United States
19   v. Tuohey, 867 F.2d 534, 536 (9th Cir. 1989) (“conspiracy to defraud the
20   United States is not limited to common-law fraud, but reaches ‘any
21   conspiracy for the purpose of impairing, obstructing or defeating the
22   lawful function of any department of government.’ [(Ccitation
23   omitted).]”).
24         175.197.   As explained in this Complaint, the Sanctuary State
25   Laws require the Plaintiffs and City employees to commit a number of
26   offenses against the United States, including under 8 U.S.C. 1324 and 18
27   U.S.C. §§ 4, 372, and 1512.
28


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 1         198. The Sanctuary State Law also requires the Plaintiffs to
 2   commit federal crimes under Title 8, U.S.C. § 372, which provides that ,
 3   “I[i]f two or more persons…conspire to prevent, by force, intimidation, or
 4   threat, any person from accepting or holding any office, trust, or place of
 5   confidence under the United States…or impede him in the discharge of
 6   his official duties, each of such persons shall be fined under this title or
 7   imprisoned not more than six years, or both.”
 8         199. Federal immigration officials hold offices under the United
 9   States. The Sanctuary State Law requires the Plaintiffs and City
10   employees to impede federal immigration officials from discharging their
11   official duties. The Sanctuary State Law, therefore, requires the
12   Plaintiffs and City employees to violate 18 U.S.C. § 372.
13         200. The Sanctuary State Law also requires the Plaintiffs to
14   commit federal crimes under 18 U.S.C. § 1512(b)(2)(D) and (b)(3)18
15   U.S.C. § 4, which make it a crime carrying a penalty of up to 20 years’
16   imprisonment for anyone who “knowingly ... engages in misleading
17   conduct toward another person, with intent to ... cause or induce any
18   person to ... be absent from an official proceeding to which such person
19   has been summoned by legal process” or to “hinder, delay, or prevent the
20   communication to a law enforcement officer or judge of the United States
21   of information relating to the commission or possible commission of a
22   Federal offense or a violation of ... parole[] or release pending judicial
23   proceedings.”
24         201. The Sanctuary State Law requires the Plaintiffs and City
25   employees to engage in misleading conduct to help aliens absent
26   themselves from administrative immigration court proceedings, which
27   are official proceedings to which aliens are summoned. The Sanctuary
28   State laws also require the Plaintiffs and City employees to hinder,


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 1   delay, or prevent communications between DHS law enforcement officers
 2   and aliens related to the aliens’ violations of Federal law. The Sanctuary
 3   State Law, therefore, requires the Plaintiffs and City employees to
 4   violate 18 U.S.C. § 1512.
 5         176.202.   Additionally, by enforcing the Sanctuary State Law,
 6   Governor Newsom and Attorney General Bonta are violating 18 U.S.C.
 7   §§ 4, 371, 372, and 1512.
 8         177.203.   Under the Sanctuary State Law, City officials, including
 9   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
10   shield from detection” any alien in their custody in violation of 8 U.S.C. §
11   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.6, 7284.4, 7285.1,
12   7285.2.
13         178.204.   City officials, including Huntington Beach Police
14   personnel, are unable to fulfill their duty to investigate or detain
15   individuals having committed crimes without violating the Sanctuary
16   State Law. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
17         179.205.   The Sanctuary State Law prohibits local law
18   enforcement officers to from cooperatinge with the Federal Government
19   in a criminal immigration investigation. See Cal. Gov. Code §§ 7282.5,
20   7284.4, 7284.6, 7285.1, 7285.2.
21         180.206.   The Sanctuary State Law bars local jurisdictions from
22   complying with 8 U.S. Code, Section 1324 or participate in a joint task
23   force. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
24         181.207.   The Sanctuary State Law restricts cooperation between
25   local law enforcement agencies and the Federal Government. See Cal.
26   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
27         182.208.   The Sanctuary State Law’s interference with the
28   Plaintiffs’ City’s coordination with the Federal Government in order to


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 1   “protect” illegal immigrants from the Federal Government’s enforcement
 2   of the U.S. Federal immigration laws as Defendants Governor Newsom
 3   and Attorney General Robert Bonta have declared is tantamount to
 4   “harboring” of illegal aliens by the State of California.
 5         183.209.   City officials, including Huntington Beach Police
 6   personnel, are unable to stop crime before it occurs. Instead, they must
 7   sit idly by and wait for a human smuggling incident to become a human
 8   trafficking situation in order to intervene and comply with California
 9   Government Code §§ 7282.5, 7284.4, 7284.6.
10         210. The Sanctuary State Law is an obstacle to the City’s ability to
11   comply with U.S. Federal immigration laws. It prevents City officials,
12   including Huntington Beach Police personnel, from full, effective law
13   enforcement and obstructs the City’s ability to coordinate and cooperate
14   with Federal law enforcement agencies. Pursuant to the Supremacy
15   Clause, U.S. Federal immigration law is supreme, and the Sanctuary
16   State Law is an unconstitutional barrier to the City’s effective law
17   enforcement efforts.
18         184.211.   Governor Newsom and Attorney General Bonta have
19   publicly expressed on multiple occasions their intent to enforce the
20   Sanctuary State Laws and they have a direct connection to such
21   enforcement by virtue of the offices that they hold. Governor Newsom’s
22   and Attorney General Bonta’s violations of 18 U.S.C. §§ 4, 371, 372, and
23   1512 are ongoing. Their enforcement of the Sanctuary State Law causes
24   ongoing harm to the Plaintiffs, and prospective injunctive relief will
25   redress that harm.
26         185.212.   Plaintiffs have no adequate remedy at law. Absent
27   relief, Defendants’ actions continue to harm and threaten to harm
28   Plaintiffs by impairing enjoyment of this right.


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 1
 2                          SIXTH CAUSE OF ACTION
 3       AIDING AND ABETTING, ACCESSORY AFTER THE FACT
 4          VIOLATION OF CALIFORNIA PENAL CODE §§ 31, 32
 5                           (Against All Defendants)
 6         186.213.   Plaintiffs hereby incorporate the allegations made in
 7   each preceding paragraph of this Complaint as if fully set forth herein.
 8         187.214.   California Penal Code § 31 provides, “All persons
 9   concerned in the commission of a crime, whether it be felony or
10   misdemeanor, and whether they directly commit the act constituting the
11   offense, or aid and abet in its commission, or, not being present, have
12   advised and encouraged its commission, and all persons counseling,
13   advising, or encouraging children under the age of fourteen years, or
14   persons who are mentally incapacitated, to commit any crime, or who, by
15   fraud, contrivance, or force, occasion the drunkenness of another for the
16   purpose of causing him to commit any crime, or who, by threats,
17   menaces, command, or coercion, compel another to commit any crime,
18   are principals in any crime so committed.”
19         188.215.   California Penal Code § 32 provides: “Every person who,
20   after a felony has been committed, harbors, conceals or aids a principal
21   in such felony, with the intent that said principal may avoid or escape
22   from arrest, trial, conviction or punishment, having knowledge that said
23   principal has committed such felony or has been charged with such
24   felony or convicted thereof, is an accessory to such felony.”
25         216. Under the Sanctuary State Law, City officials, including
26   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
27   shield from detection” any alien in their custody in violation of 8 U.S.C.
28


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 1   §1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
 2   7285.2.
 3         189.217.   Additionally, the Sanctuary State Law requires the
 4   Plaintiffs and City employees to encourage and conceal the commission
 5   of felonies by aliens, including under 8 U.S.C. §§ 1325(a), (d) and 1326.
 6         190.218.   City officials, including Huntington Beach Police
 7   personnel, are unable to fulfill their duty to investigate or detain
 8   individuals having committed crimes without violating the Sanctuary
 9   State Law. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
10         191.219.   The Sanctuary State Law prohibits local law
11   enforcement officers to from cooperatinge with the Federal Government
12   in criminal immigration investigation. See Cal. Gov. Code §§ 7282.5,
13   7284.4, 7284.6, 7285.1, 7285.2.
14         192.220.   The Sanctuary State Law bars local jurisdictions from
15   complying with 8 U.S.C. § 1324 or participate in a joint task force. See
16   Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
17         193.221.   The Sanctuary State Law restricts cooperation between
18   local law enforcement agencies and the Federal Government. See Cal.
19   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
20         194.222.   The Sanctuary State Law’s interference with the City’s
21   coordination with the Federal Government in order to “protect” illegal
22   immigrants from the Federal Government’s enforcement of the U.S.
23   Federal immigration laws as Defendants Governor Newsom and
24   Attorney General Robert Bonta have declared is “harboring” of illegal
25   aliens by the State of California and amounts to a violation of California
26   Penal Code §§ 31 and 32.
27         195.223.   The Sanctuary State Law causes City officials, including
28   Huntington Beach Police personnel, to violate California Penal Code §§


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 1   31 and 32 by aiding and abetting the commission of a crime and
 2   accessory after the fact in the commission of a crime, i.e., the violation of
 3   U.S. Federal immigration laws, including but not limited to 8 U.S.C. §§
 4   1324, and 1325, and 1326.
 5         196.224.    Plaintiffs have no adequate remedy at law. Absent
 6   relief, Defendants’ actions continue to harm and threaten to harm
 7   Plaintiffs by impairing enjoyment of this right.
 8   ///
 9   ///
10   ///
11   ///
12   ///
13   ///
14                          SEVENTH CAUSE OF ACTION
15                     VIOLATION OF OATH OF OFFICE
16         ARTICLE XX, § 3 OF THE CALIFORNIA CONSTITUTION
17                            (Against All Defendants)
18         197.225.    Plaintiffs hereby incorporate the allegations made in
19   each preceding paragraph of this Complaint as if fully set forth herein.
20         198.226.    The Sanctuary State Law is unconstitutional. See U.S.
21   Const. art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8
22   U.S.C. §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512;
23   see also Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
24         199.227.    Article XX, § 3 of the California Constitution provides
25   the Oath of Office that certain City officials, including elected officials
26   and police officers, are required to take in order to be fully vested with
27   authority for the office they are to assume. Cal. Const. art. XX, § 3.
28


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 1         200.228.   The Constitutionally required Oath of Office states “I,
 2   ............___________, do solemnly swear (or affirm) that I will support and
 3   defend the Constitution of the United States and the Constitution of the
 4   State of California against all enemies, foreign and domestic; that I will
 5   bear true faith and allegiance to the Constitution of the United States
 6   and the Constitution of the State of California; that I take this obligation
 7   freely, without any mental reservation or purpose of evasion; and that I
 8   will well and faithfully discharge the duties upon which I am about to
 9   enter.”
10         201.229.   The Sanctuary State Law forces the City’s officials,
11   including Huntington Beach Police personnel, to violate their legal
12   obligations and their Oaths of Office to the U.S Constitution, the
13   California Constitution, and U.S. Federal immigration laws in violation
14   of the California Constitution’s Oath of Office.
15         202.230.   Under the Sanctuary State Law, City officials, including
16   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
17   shield from detection” any alien in their custody in violation of 8 U.S.C. §
18   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
19   7285.2.
20         203.231.   City officials, including Huntington Beach Police
21   personnel, are unable to fulfill their duty to investigate or detain
22   individuals having committed crimes without violating the Sanctuary
23   State Law. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
24         204.232.   The Sanctuary State Law prohibits local law
25   enforcement officers to from cooperatinge with the Federal Government
26   in criminal immigration investigation. See Cal. Gov. Code §§ 7282.5,
27   7284.4, 7284.6, 7285.1, 7285.2.
28


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 1         205.233.   The Sanctuary State Law bars local jurisdictions from
 2   complying with 8 U.S.C. § 1324 or participate in a joint task force. See
 3   Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 4         206.234.   The Sanctuary State Law restricts cooperation between
 5   local law enforcement agencies and the Federal Government. See Cal.
 6   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 7         207.235.   The Sanctuary State Law’s interference with the City’s
 8   coordination with the Federal Government in order to “protect” illegal
 9   immigrants from the Federal Government’s enforcement of the U.S.
10   Federal immigration laws causes City officials, including Huntington
11   Beach Police personnel, to violate the terms of their Oath of Office
12   required by the California Constitution, i.e., that they swear to “support
13   and defend the Constitution of the United States and the Constitution of
14   the State of California against all enemies, foreign and domestic; that
15   [they] will bear true faith and allegiance to the Constitution of the
16   United States and the Constitution of the State of California; that [they]
17   take this obligation freely, without any mental reservation or purpose of
18   evasion; and that [they] will well and faithfully discharge the duties
19   upon which [they] a[re] about to enter,” causing violations of U.S.
20   Federal immigration laws, including but not limited to 8 U.S.C. §§ 1324
21   and 1325.
22         236. Plaintiffs have no adequate remedy at law. Absent relief,
23   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
24   impairing enjoyment of this right.
25                          EIGHTH CAUSE OF ACTION
26                          VIOLATION OF CIVIL RIGHTS
27                                 42 U.S.C. § 1983
28


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 1     (Against Defendants Governor Newsom and Attorney General
 2                                     Bonta)
 3         237. Plaintiffs hereby incorporate the allegations made in each
 4   preceding paragraph of this Complaint as if fully set forth herein.
 5         238. Under 42 U.S.C. § 1983, “Every person who, under color of
 6   any statute, ordinance, regulation, custom, or usage, of any State ...
 7   subjects, or causes to be subjected, any citizen of the United States ... to
 8   the deprivation of any rights, privileges, or immunities secured by the
 9   Constitution and laws, shall be liable to the party injured in an action at
10   law, suit in equity, or other proper proceeding for redress....”
11         239. The Sanctuary State Law compels the speech of the Plaintiffs
12   and the City’s employees. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
13   7285.1, 7285.2. This deprives the Plaintiffs of their free speech rights
14   under the First Amendment of the Constitution.
15         240. The Sanctuary State Law restricts the Plaintiffs and the
16   City’s employees, who are “government entit[ies] or official[s],” “from
17   sending to, or receiving from, ... [DHS] information regarding the
18   citizenship or immigration status, lawful or unlawful, of any individual.”
19   8 U.S.C. §§ 1373 and 1644; see also Cal. Gov. Code §§ 7282.5, 7284.4,
20   7284.6, 7285.1, 7285.2.
21         241. Because Federal law protects the Plaintiffs’ right and
22   privilege of communicating with DHS regarding the immigration status
23   of aliens, the Sanctuary State Law deprives the Plaintiffs of their rights
24   and privileges under Sections 1373 and 1644.
25         242. Governor Newsom and Attorney General Bonta have publicly
26   expressed on multiple occasions their intent to enforce the Sanctuary
27   State Laws and they have a direct connection to such enforcement by
28   virtue of the offices that they hold. Governor Newsom’s and Attorney


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 1   General Bonta’s violations of the First Amendment and 8 U.S.C. §§ 1373
 2   and 1644 are ongoing. Their enforcement of the Sanctuary State Law
 3   causes ongoing harm to the Plaintiffs by depriving them of their rights
 4   and privileges under the U.S. Constitution and Federal law. Prospective
 5   injunctive relief will redress that harm.
 6         243. The Plaintiffs have no adequate remedy at law. Absent relief,
 7   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
 8   impairing enjoyment of this right.
 9                          NINTH CAUSE OF ACTION
10      NON-STATUTORY CAUSE OF ACTION FOR VIOLATION OF
11                                 FEDERAL LAW
12
13     (Against Defendants Governor Newsom and Attorney General
14                                       Bonta)
15         244. Plaintiffs hereby incorporate the allegations made in each
16   preceding paragraph of this Complaint as if fully set forth herein.
17         245. The Ex Parte Young doctrine allows for suits against state
18   officials in their official capacity for prospective injunctive relief to
19   prevent ongoing violations of federal law. Ex parte Young, 209 U.S. 123
20   (1908).
21         246. Claims for relief One through Five catalog the numerous
22   ways that Governor Newson and Attorney General Bonta are violating
23   Federal law. The Plaintiffs, therefore, have a cause of action under Ex
24   Parte Young against Governor Newsom and Attorney General Bonta.
25         247. Governor Newsom and Attorney General Bonta have publicly
26   expressed on multiple occasions their intent to enforce the Sanctuary
27   State Laws and they have a direct connection to such enforcement by
28   virtue of the offices that they hold. Governor Newsom’s and Attorney


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 1   General Bonta’s violations of the U.S. Constitution and Federal law.
 2   Their enforcement of the Sanctuary State Law causes ongoing harm to
 3   the Plaintiffs by depriving them of their rights and privileges under the
 4   U.S. Constitution and Federal law. Prospective injunctive relief will
 5   redress that harm.
 6         248. The Plaintiffs have no adequate remedy at law. Absent relief,
 7   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
 8   impairing enjoyment of this right.
 9
10
11                            PRAYER FOR RELIEF
12   WHEREFORE, Plaintiffs pray for relief as follows:
13         1.   Preliminary and permanent injunctive relief preventing
14   Defendants from enforcing the Sanctuary State Law (SB 54), or,
15   alternatively, from enforcing the California statutes and constitutional
16   provisions upon which the Sanctuary State Law is based to the extent
17   those statutes and provisions violate the Supremacy Clause, the
18
     aforementioned U.S. Federal immigration, criminal, and civil rights
19
     laws, the aforementioned California Penal Code(s), and other provisions
20
     of the U.S. Constitution and California Constitution;
21
           2.   An order and judgment declaring that the Sanctuary State
22
     Law (SB 54), or, alternatively, the California statutes and constitutional
23
     provisions upon which the Sanctuary State Law is based, violate the
24
     Supremacy Clause, the aforementioned U.S. Federal immigration,
25
26   criminal, and civil rights laws, the aforementioned California Penal

27   Code(s), and other provisions of the U.S. Constitution and California
28   Constitution;


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 1         3.   An order and judgment declaring that the Sanctuary State
 2   Law (SB 54) provides no obstacle to Huntington Beach’s cooperation with
 3   the Federal Government and acts to comply with all U.S. Federal
 4   immigration laws, or, alternatively, the California statutes and
 5   constitutional provisions upon which AB 1955 is based, violate the
 6   Supremacy Clause, the aforementioned U.S. Federal immigration,
 7
     criminal, and civil rights laws, the aforementioned California Penal
 8
     Code(s), and other provisions of the U.S. Constitution and California
 9
     Constitution;
10
           4.   Reasonable attorneys’ fees and costs pursuant to 42 U.S.C. §
11
     1988 and other applicable laws; and
12
           5.   Such other and further relief as the Court may deem just and
13
     proper.
14
15
16   DATED: January March 57, 2025                   MICHAEL J. VigliottaE.
17   GATES, City Attorney
18
19                                  By:       /s/ Michael J. Vigliotta (with
     permission) Michael E. Gates
20                                        Michael J. VigliottaE. Gates
21   ,                                    City Attorney
22                                        City of Huntington Beach

23                                  By:       /s/ James Rogers                 .
24                                        James K. Rogers
25                                        Senior Counsel
                                          America First Legal Foundation
26
27                                        Attorneys for Plaintiffs
                                          CITY OF HUNTINGTON BEACH,
28
                                          HUNTINGTON BEACH CITY

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 1                                      COUNCIL, HUNTINGTON BEACH
 2                                      POLICE DEPARTMENT, and the
                                        HUNTINGTON BEACH POLICE
 3                                      CHIEF
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 1                          DEMAND FOR JURY TRIAL
 2
 3         Plaintiffs, CITY OF HUNTINGTON BEACH, HUNTINGTON
 4   BEACH CITY COUNCIL, HUNTINGTON BEACH POLICE
 5   DEPARTMENT, and the HUNTINGTON BEACH POLICE CHIEF
 6   hereby demand trial by jury in the above-entitled action pursuant to
 7   Federal Rules of Civil Procedure 38(b) and Local Rule 38-1.
 8
 9   DATED: January March 75, 2025                   MICHAEL J. VigliottaE.
10   GATES, City Attorney
11
12                                  By:       /s/ Michael J. Vigliotta (with
13   permission) Michael E. Gates
                                          Michael J. VigliottaE. Gates, City
14   Attorney
15                                        Attorneys for Plaintiffs
16
                                  By:         /s/ James Rogers                 .
17                                        James K. Rogers
18                                        Senior Counsel
                                          America First Legal Foundation
19
20
21
22
                                          CITY OF HUNTINGTON BEACH,
23                                        HUNTINGTON BEACH CITY
24                                        COUNCIL, HUNTINGTON BEACH
                                          POLICE DEPARTMENT, and the
25
                                          HUNTINGTON BEACH POLICE
26                                        CHIEF
27
28


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